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                           EXHIBIT B
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                                                                     Page 1

   1
   2                             CONFIDENTIAL
   3      ----------------------------- X
          IN THE MATTER OF THE
   4      INDEPENDENT INVESTIGATION UNDER
          NEW YORK STATE EXECUTIVE
   5      LAW SECTION 63(8)
   6      ----------------------------- X
   7
   8                                      June 4, 2021
   9                                      1:36 p.m.
  10
  11
  12
  13
  14                    CONFIDENTIAL REMOTE VIDEOTAPED
  15      INVESTIGATION of WITNESS 6-4-21, taken by
  16      the New York Attorney General's Office,
  17      pursuant to Executive Order 63(8), before
  18      Theresa Tramondo, AOS, CLR, a Notary
  19      Public of the State of New York.
  20
  21
  22
  23      Reported by:
  24      THERESA TRAMONDO, AOS, CLR
  25      JOB NO. NY4613069

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   1
   2      APPEARANCE OF COUNSEL:
   3
   4           CLEARY GOTTLIEB STEEN & HAMILTON LLP
   5           One Liberty Plaza
   6           New York, New York               10006
   7           BY:    ABENA MAINOO, ESQ,
   8                  JENNIFER KENNEDY PARK, ESQ.
   9                  AVION TAI, ESQ.
  10           Amainoo@cgsh.com
  11           Jkenndeypark@cgsh.com
  12           Atai@cgsh.com
  13           212-225-2000
  14
  15           ALSO PRESENT:
  16           ROCCO MERCURIO, VIDEOGRAPHER, VERITEXT
  17      LEGAL SOLUTIONS
  18
  19
  20
  21
  22
  23
  24
  25

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   1
   2                        THE VIDEOGRAPHER:                 We're now
   3                  going on the record.               Today is Friday,
   4                  June 4, 2021, and the time is
   5                  approximately 1:36.              This is the
   6                  remote video deposition of Ana Liss in
   7                  the matter of Independent
   8                  Investigation under New York State
   9                  Executive Law Section 63(8).
  10                        My name is Rocco Mercurio and
  11                  the court reporter is Theresa Tramondo
  12                  and we are from Veritext.
  13                        Will counsel please introduce
  14                  yourselves and who you represent for
  15                  the record.
  16                        MS. MAINOO:            Good afternoon.
  17                  Abena Mainoo from the Law firm of
  18                  Cleary Gottlieb Steen & Hamilton, but
  19                  acting as a Special Duty to the First
  20                  Deputy Attorney General for the
  21                  New York State Attorney General's
  22                  Office.
  23                        MS. PARK:          Jennifer Kennedy Park
  24                  from the law firm of Cleary Gottlieb
  25                  Steen Hamilton, and I'm also a Special

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                                                                     Page 4

   1
   2                  Deputy to the first Deputy Attorney
   3                  General of the New York State Attorney
   4                  General's Office.
   5                        MS. TAI:         And I'm Avion Tai also
   6                  from the law firm of Cleary Gottlieb
   7                  Steen Hamilton I've been designated as
   8                  Special Assistant to First Deputy
   9                  Attorney General.
  10                        THE VIDEOGRAPHER:                 The court
  11                  reporter will now swear in the witness
  12                  and we can now proceed.
  13                        MS. MAINOO:            All parties agree
  14                  that the court reporter can
  15                  swear/affirm the witness in virtually
  16                  via Zoom as if the witness was in the
  17                  same room as the court reporter.
  18                  Unless there are any objections by any
  19                  party, say it's so stipulated.
  20                        So stipulated.
  21      A N A         L I S S,      called as a witness,
  22      having been duly sworn via Zoom by a
  23      Notary Public, was examined and testified
  24      as follows:
  25      EXAMINATION BY

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                                                                     Page 5

   1                              Confidential
   2      MS. MAINOO:
   3                  Q.    Good afternoon after, Ms. Liss.
   4      Thank you for meeting with us today.
   5                        Before I start asking questions,
   6      I'm going to give you some background
   7      information and go over some ground rules.
   8                        The New York State Attorney
   9      General has appointed the law firms Cleary
  10      Gottlieb Steen Hamilton and Vladeck Raskin &
  11      Clark to conduct an independent
  12      investigation under New York Executive Law
  13      Section 63(8) into allegations of sexual
  14      harassment brought against Governor Andrew
  15      Cuomo, as well as the surrounding
  16      circumstances.
  17                        You are here today pursuant a
  18      subpoena issued in connection with this
  19      investigation.
  20                        I will note at the outset that
  21      today's proceeding is being video recorded.
  22      You are under oath.              That means you must
  23      testify fully and truthfully just as if you
  24      were in a court of law sitting before a
  25      judge and jury.           Your testimony is subject

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   1                              Confidential
   2      to penalty of perjury.                 If you would like to
   3      make any brief sworn statement, we would ask
   4      that you do so at the end of your
   5      examination today.
   6                        Although this is a civil
   7      investigation, the New York Attorney
   8      General's Office also has criminal
   9      enforcement powers.              You have the right to
  10      refuse to answer a question if answering the
  11      question would incriminate you, but any
  12      failure to answer can be used against you in
  13      a court of law in a civil noncriminal
  14      proceeding.
  15                        Asserting your Fifth Amendment
  16      privilege does have evidentiary
  17      significance.          If you choose to assert your
  18      Fifth Amendment privilege, that fact could
  19      be presented to a judge or a jury in a civil
  20      proceeding, who will be free to draw a
  21      conclusion from your assertion of that
  22      privilege.
  23                        I understand that your attorney
  24      is not attending your testimony, but you
  25      have access to him today during your

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   1                               Confidential
   2      testimony and you can consult with your
   3      attorney if you have any questions about the
   4      attorney-client privilege.
   5                        As you can see, we have a court
   6      reporter present with us in the virtual
   7      room, and she is to take my questions and
   8      your answers to create a transcript.                      So
   9      that the reporter can create a clean record,
  10      please provide a verbal response to each
  11      question.        So please do not shake or nod
  12      your head or give responses like um-hum.                            Do
  13      you understand?
  14                  A.    Yes.
  15                  Q.    If you do not know the answer to
  16      the question, please say you do not know.
  17      Please allow me to finish my question before
  18      you begin to answer, and I will try not to
  19      speak over you so that the court reporter
  20      can create a clean transcript, particularly
  21      since we're not all in the same room.
  22                        You will not be permitted to
  23      review a transcript of your testimony.                         If
  24      at any time today you want to clarify an
  25      answer you have given, please let me know.

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   1                               Confidential
   2      If you do not understand a question, please
   3      let me know and I will try to ask the
   4      question in a different way.
   5                        I will be asking about names and
   6      dates and other specific information.                       Even
   7      if you don't remember a specific name or
   8      date, I would ask that you give me your best
   9      approximate answer while indicating that
  10      your answer may not be exact.
  11                        If you need a break at any
  12      point, please let me know, but if there is a
  13      question pending, please answer the question
  14      first and then we can take a break.                      Okay?
  15                  A.    Yes.
  16                  Q.    Please confirm that you are
  17      alone.
  18                  A.    Yes, I am alone.
  19                  Q.    Please confirm that you're not
  20      using any technology to create a recording
  21      of the proceeding on your end including
  22      using screen capturing tools.
  23                  A.    Yes, I can confirm I'm not
  24      recording this using any technology.
  25                  Q.    Please confirm that you're not

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  1                             Confidential
  2      allowing anyone else to listen in including
  3      through any devices.
  4                  A.   Yes, no one else is listening
  5      in, I can confirm.
  6                  Q.   And please confirm that you are
  7      not and will not communicate in real-time or
  8      during breaks with anyone else about the
  9      substance of your testimony.
10                   A.   Yes, I can confirm I won't be
11       communicating that.
12                   Q.   Executive Law Section 63(8), a
13       provision under which this investigation is
14       being conducted, prohibits you as well as
15       your counsel from revealing anything about
16       what we ask or what you say during your
17       testimony to anyone.              If anyone asks you to
18       disclose any such information, please let us
19       know, including any reason they provide for
20       seeking such information and we will discuss
21       with you whether any disclosure will be
22       permitted.
23                        Please note that you are
24       protected from retaliation for participating
25       in today's testimony.               We ask that you let

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  1                             Confidential
  2      us know if you are concerned about any
  3      potential retaliation from the Executive
  4      Chamber or anyone else.
  5                       Are you taking any medication or
  6      drugs that might make it difficult for you
  7      to understand my questions?
  8                  A.   No, I am not.
  9                  Q.   Have you had any alcohol today?
10                   A.   No, I have not.
11                   Q.   Is there any reason why you
12       would not be able to answer my questions
13       fully and truthfully?
14                   A.   No, there is no reason.
15                   Q.   Please state your name, date of
16       birth and current home and business address
17       for the record.
18                   A.   My name is Ana Liss, and my date
19       of birth is                                        .   My home
20       address is                                               ,
21                                               , and my business
22       address is                                                          ,
23                                               .
24                   Q.   Ms. Liss, have you ever given
25       testimony before?

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  1                             Confidential
  2                  A.    No, I have not.
  3                  Q.    Other than conversations with
  4      your attorney, did you do anything to
  5      prepare to testify today?
  6                  A.    No, I have not.
  7                  Q.    Please open your electronic
  8      exhibits and open Tab 2, which we will mark
  9      as an exhibit.
10                         (Exhibit 1, Testimony subpoena,
11                   Tab 2, marked for identification, as
12                   of this date.)
13                   A.    One moment.           One second, it says
14       it sent me an e-mail -- oh, here it is.                       My
15       apologies.
16                   Q.    No worries.
17                   A.    I just have to activate my
18       account.
19                   Q.    If it's easier, you can also
20       look on the screen.             We're sharing the
21       exhibit on the screen.
22                   A.    Okay.     You said that it is Tab
23       number 2, correct?
24                   Q.    Correct.
25                   A.    All right.          While I'm waiting

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  1                             Confidential
  2      for it to set up, I'll look on the Zoom
  3      screen, if that's okay.
  4                  Q.   Absolutely.
  5                       Do you recognize this document
  6      as the testimony subpoena you received from
  7      our office?
  8                  A.   Yes, I did.
  9                  Q.   Did you read the subpoena?
10                   A.   Yes, I did.
11                   Q.   And do you understand that your
12       testimony today is being taken pursuant to
13       this subpoena?
14                   A.   Yes, I understand.
15                   Q.   We can take the document off the
16       screen.
17                        Ms. Liss, please take us through
18       your educational background starting with
19       college.
20                   A.   Yes, I attended Ithaca College,
21       the Park School of Communications, and I
22       received a bachelor of arts in journalism,
23       graduated in 2007.            Subsequent to that, I
24       attended the University of Pennsylvania for
25       my master's in public administration.                      I

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  1                             Confidential
  2      graduated from that program in 2011.                     And I
  3      also hold a certificate in graduate studies
  4      from SUNY Empire State College in innovation
  5      management and technology transfer, and I
  6      earned that certificate in 2015.
  7                  Q.   And please walk us through your
  8      employment history following college.
  9                  A.   Immediately following college, I
10       worked for a new station in Elmira, New York
11       WETM 18 News, the NBC affiliate, serving the
12       southern tier of New York State and the
13       northern tier of Pennsylvania, from 2007 to
14       2009.
15                        Subsequent to that, I attended
16       graduate school.           After graduate school, I
17       worked for the Center for Governmental
18       Research in Rochester, New York as a
19       research associate for a period of a little
20       less than a year.
21                        And then I worked for Greater
22       Rochester Enterprise as a business
23       development associate for approximately two
24       years working in Economic Development, also
25       in Rochester.

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  1                             Confidential
  2                       After that I received the Empire
  3      State Fellowship to work in Albany.                        So from
  4      2013 to 2015 I worked in Albany for the
  5      Executive Chamber for Governor Cuomo in a
  6      variety of different roles.                        Technically I
  7      was an employee of New York State Homes and
  8      Community Renewal; although, I sat in the
  9      Executive Chamber and answered up through
10       the Economic Development chain of command
11       and ultimately to the director of state
12       operation.
13                        After leaving Albany, I worked
14       for Cornell University's S.C. Johnson
15       Graduate School of Business as -- of
16       Management, excuse me, as a corporate
17       relationship manager, and then that was from
18       2000 -- that was in 2015.
19                        And then I was recruited to go
20       back to Greater Rochester Enterprise, my
21       employer prior to getting the Fellowship, as
22       a managing director of business development.
23       I was there from 2015 to 2020.
24                        And then in 2020, last year, I
25       joined the administration of Monroe County,

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  1                              Confidential
  2      New York, County Executive Adam Bello, as
  3      the director of planning and economic
  4      development, and in this role I am also the
  5      executive director of the Monroe County
  6      Industrial Development Agency and the Monroe
  7      County Industrial Development Corporation.
  8                  Q.      So we're going to focus on your
  9      time at the Executive Chamber now.                    How did
10       you come to work in the Executive Chamber
11       starting in 2013?
12                   A.      I applied for the Empire State
13       Fellowship in early 2013.                   It was the second
14       year of the program, and per a news release,
15       the administration was recruiting a second
16       cohort.          The Empire State Fellowship was
17       posited as though it was modeled after the
18       Presidential Management Fellowship Program,
19       recruiting young professionals with graduate
20       degrees to come work in state government
21       service.          I applied because I was interested
22       in and passionate about upstate New York
23       economics development and revitalization and
24       wrote my essay in such a way as, you know, I
25       was seeking employment to help serve the

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  1                             Confidential
  2      Governor's administration in its efforts to
  3      lift up the Regional Economical Development
  4      Council initiative.
  5                       And I found out I got the
  6      Fellowship in late spring, I believe, of
  7      2013.       And I moved to Albany in August of
  8      2013 and began the Fellowship in September
  9      of 2013.       And before I found out that I was
10       going to be assigned to the Executive
11       Chamber on the second floor of the Capitol
12       in the Governor's Office, I attended a
13       week-long orientation program with the other
14       members of my Fellowship cohort at the
15       Rockefeller Institute of Government, part of
16       SUNY Albany, and I met the other fellows,
17       all of whom were assigned to different roles
18       in state government.              Many were assigned to
19       various state agencies.                 A few of us were
20       assigned to the second floor.
21                        On the final day and evening of
22       our orientation program, there was a
23       reception that we were invited to attend at
24       the Rockefeller Institute, and I was
25       introduced to                                 , who at the

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  1                               Confidential
  2      time was the assistant secretary for
  3      Economic Development, working for Governor
  4      Cuomo.           I was informed that
  5      was going to be my, quote/unquote, mentor or
  6      like my boss, and the next day I was to
  7      report to duty in my office in the Executive
  8      Chamber and                  was going to begin giving
  9      me assignments.
10                   Q.       What work did you understand you
11       would be doing as an Empire State Fellowship
12       working out of the Executive Chamber?
13                   A.       I was told that I would be
14       helping to develop and inform policy-making
15       decisions.           Given that I was assigned to the
16       Economic Development portfolio, so to speak,
17       it was my understanding that I was going to
18       help staff and administer the work of the
19       ten regional Economic Development Councils
20       and help to guide the management of that
21       initiative throughout my tenure there, and
22       all of the fellows were told that the
23       ultimate goal was for each of us to develop
24       sufficient experience and connectivity such
25       that we would become deputy secretaries.

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  1                             Confidential
  2                       So I thought early on that I
  3      might be tasked to be an assistant secretary
  4      or a deputy secretary for Economic
  5      Development or work in a senior leadership
  6      position within an agency.                    So for me that
  7      would have been Empire State Development
  8      Corporation.
  9                  Q.   When you found out that you had
10       been placed in the Executive Chamber, what
11       did you think about that?
12                   A.   At first I didn't know what it
13       meant really; however, I quickly learned in
14       conversation with the people that were
15       managing the Fellowship program at
16       Rockefeller that it was a prestigious place
17       to work and that I was very fortunate and
18       that it was exciting and it was going to be
19       high pressure and that I should be proud.
20       So I was excited and nervous.
21                   Q.   What was were you nervous about?
22                   A.   I was nervous that I
23       wasn't -- that I couldn't cut it, you know,
24       that I was nervous that I was just a young
25       person from upstate New York with no

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  1                             Confidential
  2      knowledge of how Albany really works and how
  3      state government really functions,
  4      especially from a political point of view,
  5      and I thought that I would -- I thought that
  6      I wasn't really cut out for it and that, you
  7      know, they would get rid of me or something.
  8      It was sort of an Imposter syndrome.                       But I
  9      also felt like hat I could roll up my
10       sleeves and really try.                 I was committed to
11       leveling up, so to speak.
12                   Q.   What excited you about the
13       opportunity?
14                   A.   I was excited because the
15       Governor up to that point, you know, he had
16       established an agenda that was really
17       focused on upstate New York.                       He had rolled
18       out the Buffalo Billion and had promoted a
19       lot folks in the greater Rochester region in
20       his administration.             Bob Duffy was our mayor
21       at one point and was serving at the time of
22       the Governor as Lieutenant Governor.                       Our
23       regional ESD office was pretty -- had a
24       pretty solid talent bench, and I thought,
25       wow, this is so exciting for Rochester and I

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  1                             Confidential
  2      get to serve this administration and also be
  3      a companion for my hometown, and I thought,
  4      you know, this is it, this is my ticket to
  5      the rest of my career in public service.
  6                        Just the Governor had developed
  7      a reputation being kind of a lion champion
  8      for upstate economic development, and up to
  9      that point under previous governors there
10       were a lot of dark times and feelings of
11       depression upstate through the great
12       depression -- or the Great Recession and
13       later on, and it felt like there were
14       reasons to be hopeful, and I thought, wow,
15       this is really amazing, I get to play a role
16       in this larger effort to make things better.
17                   Q.    I don't know if you have been
18       able to access the site yet, but we're going
19       to pull up Tab 5 and we will mark that as an
20       exhibit.
21                         (Exhibit 2, announcement of 2013
22                   to 2015 Class of Empire State Fellows,
23                   Tab 5, marked for identification, as
24                   of this date.)
25                   A.    Yes, I have it pulled up.

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  1                              Confidential
  2                  Q.      Tab 5 should be the announcement
  3      of 2013 to 2015 Class of Empire State
  4      Fellows.          Do you see that?
  5                  A.      Yes, I do.
  6                  Q.      Do you recognize this document?
  7                  A.      Yes, I do.
  8                  Q.      Page 1, I'm going to put it on
  9      screen.          Page 1 says that in the third
10       paragraph "The Governor appointed each
11       Empire fellow to a position that matches
12       their skills with the needs of state
13       government," and then turning to page 3 it
14       includes a profile for you, it refers to
15       your background in Economic Development,
16       fiscal policy, public budgeting, local
17       government ethics and journalism?
18                   A.      Uh-hum.
19                   Q.      Do you remember the first time
20       you saw that profile?
21                   A.      Yeah, I don't know exactly when
22       it was.          It was not long after the
23       orientation.          I think it was towards the end
24       of orientation week that it was released and
25       publicized, and I remember feeling proud and

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  1                             Confidential
  2      I shared it with my friends and family.
  3                  Q.   We can take that off the screen.
  4                       What positions did you hold when
  5      you were at the Executive Chamber?
  6                  A.   It's -- it was confusing, and
  7      particularly for somebody like me, who
  8      needed structure.           There lacked a great deal
  9      of structure.         So when I started out, I was
10       working for                               , and I was seated
11       in a -- the second floor.                   It was sort of a
12       balcony atrium area in the Lieutenant
13       Governor's Office, that was dusty and off
14       the beaten path, and I sat up there at a
15       really old computer workstation next to a
16       young woman named                                  ,
17                                  on the Regional Economic
18       Development Councils.
19                        And at first I was given random
20       one-off assignments.              I was asked to collect
21       mailing addresses and contact information
22       for as many commercial contractors in the
23       State of New York as possible for an event
24       that the Governor was hosting that had to do
25       with START-UP New York, I believe.

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  1                             Confidential
  2                       I was asked to put -- the
  3      Governor had gotten it into his head at one
  4      point per                that he wanted to bring
  5      back Formula 1 racing to New York State, and
  6      I was asked to research the feasibility of
  7      that and put a memo together.
  8                       Then I was asked to do sort of
  9      random things having to do with the Regional
10       Council, so putting meeting materials
11       together, attending with                                   and
12       with             and other staff members,
13       attending meetings of the Regional Councils
14       in other part of the state, which was funny.
15       You know, I got to do a little bit of
16       traveling in New York.
17                        And then a couple of months into
18       it, I was asked to leverage my journalism
19       background, to put some video reels together
20       for the upcoming Regional Economic
21       Development Council awards, which was
22       happening in, I think, November of that
23       year.       And I did a lot of work on that with
24       Empire State Development with their
25       multimedia crew, and I did some traveling

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  1                             Confidential
  2      and interviewed some people.
  3                       And I found out per
  4      after I had spent several weeks putting
  5      those together with relatively little
  6      supervision and relatively little feedback,
  7      that the Governor had seen one of the videos
  8      and hated it and wanted us to start over.
  9      And this was the night before -- the day
10       before the award, so I had to work like kind
11       of through the night in the multimedia
12       studio underneath -- in the concourse of the
13       State Capitol with the communications team
14       to put everything together to repackage
15       everything so that the Governor would like
16       it.
17                        And he assigned his Director of
18       State Operations at the time, Howard Glaser,
19       to supervise me.           I don't know if that -- if
20       it was him that assigned it or what, but
21       Howard Glaser was put there down there with
22       me, and at the time I thought, wow, this is
23       so amazing because up until that point I was
24       sort of in this far-gone section of the
25       Executive Chamber where it was just me and a

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  1                             Confidential
  2      couple of people in the Lieutenant
  3      Governor's Office.            I really never saw
  4      anyone that had any name recognition, and
  5      all of a sudden I was sitting at a table
  6      with Howard Glaser, whose name was mentioned
  7      all the time.
  8                  Q.     What was Howard Glaser's
  9      position?
10                   A.     He was the Director of State
11       Operations at the time.
12                          And notably he was also
13                                who was one of the other
14       accusers later on.
15                          But anyhow, Howard helped work
16       with me and the other -- and the multimedia
17       crew.        There's like videographers, audio
18       editors.         And we put everything -- we
19       repackaged the videos so that the Governor
20       liked them.         We made them like sexier and
21       more exciting, kind of like movie trailers
22       almost.
23                          And then the next day I remember
24       I noticed that Howard Glaser started
25       following me on Twitter.                  Then I was

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  1                              Confidential
  2      notified later on by a gentleman by the name
  3      of                    , who is now a lobbyist, but
  4                        was                                            ,
  5      I was notified that Howard wanted me to go
  6      over and work in his office.
  7                       And so then I moved my stuff
  8      over to Howard's office, and his office was
  9      right next to the Governor's Office, so when
10       the Governor was in Albany, the Governor
11       would come through, and that's when I would
12       see him.      It was a completely different
13       environment and different -- it was a lot
14       more pressure, a lot more stress.
15                        And then it got increasingly
16       unclear like what I was doing in the
17       Governor's Office because                                     was
18       running Economic Development, and I really
19       like doing the work, you know, staffing the
20       Regional Councils, and then all of a sudden
21       I was kind -- kind of sort of taken off of
22       that for the most part and like sat in
23       Howard's office and did random assignments
24       for Howard, while also on the fringes doing
25       random assignments for                             So I never

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  1                             Confidential
  2      quite understood what I was doing there.                        It
  3      was confusing, and I ultimately -- I tried
  4      to find my way to a spot that felt more
  5      productive and felt like it was more
  6      structured, but, you know, ultimately what
  7      made the most sense at the end of my
  8      Fellowship was just to get out, and so
  9      that's why I got out.
10                   Q.   And when you sat at your
11       original location in the Lieutenant
12       Governor's Office, where was that in
13       relation to the Governor's Office?
14                   A.   It was -- so the second floor of
15       the Governor's Office is like a big square,
16       and on one side of the square is the Hall of
17       Governors and that's where the Governor's
18       Office is and all of the really important
19       deputy secretaries, and on the other side
20       it's like the Hall of New York, where the
21       Lieutenant Governor's Office is and some
22       like less important assistant secretaries.
23                        So I was in the Hall of New
24       York, pretty far removed, and also
25       furthermore I was up on the second floor in

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  1                              Confidential
  2      one of the offices, so even further removed.
  3      And nobody from -- like I heard names like
  4      Howard Glaser and Larry Schwartz and Melissa
  5      DeRosa and Stephanie Benton.                       I heard the
  6      names -- oh, and Joe Percoco, and these are
  7      all names -- besides the Governor, I didn't
  8      know who any of these people were before I
  9      started in the Executive Chamber.                       I heard
10       the names tossed around all the time and
11       began to learn who are the important people
12       and they were sort of like nameless,
13       faceless individuals.               They never came over
14       to that side of the second floor.                       They
15       never were visible.             So it was also like
16       there was like this barrier between the two
17       worlds.          It was a totally different world.
18       And then when I moved over, it unlocked the
19       reality of the Executive Chamber.                       It felt
20       like I was in the real Executive Chamber.
21                   Q.      What do you mean when you say it
22       felt like you were in the real Executive
23       Chamber?
24                   A.      I went from being around -- I
25       mean, I was -- my day-to-day when I was in

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  1                             Confidential
  2      the Lieutenant Governor's Office working for
  3                  wasn't very stressful.                 You know you
  4      could wear -- you had to dress up, but it
  5      wasn't like you had to wear fancy clothes
  6      all the time.         Nobody was breathing down my
  7      neck or was looking at me and monitoring my
  8      every move.       I felt like -- it was just less
  9      stressful and more fun and relaxed.
10                        And then when I went over to the
11       Hall of Governor's and I was working in
12       Howard's office and the Governor was there
13       every so often and I would see all of these
14       people and I would hear all of the yelling
15       and screaming and the stress, it felt like I
16       went from, you know, being in Parks and Rec
17       to being like in the West Wing.
18                        And I was told I had to wear
19       high heels when the Governor was in the
20       office, and I felt it was just a much more
21       high pressure environment.                    There was a lot
22       cursing and screaming.                And I began to learn
23       quickly who were our enemies and who were
24       our friends and who was important and who
25       wasn't important.           It was just -- for

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  1                               Confidential
  2      someone with my background, I was a little
  3      naive and didn't know what that world was
  4      like.        I had some involvement in politics up
  5      until that point, you know, locally involved
  6      in some small town campaigns, but I
  7      didn't -- I didn't really know what I was
  8      walking into.         And I knew that the best --
  9      the easiest way to survive and get by and
10       not get in trouble and not get a target on
11       my back was just to look nice, be nice, do
12       what I was told.
13                   Q.    I'll want to talk more about
14       that.
15                         First, other than sitting in the
16       Lieutenant Governor's Office and then in
17       Howard Glaser's office, did you sit anywhere
18       else during the time you worked in the
19       Executive Chamber?
20                   A.    Yes.      So after Howard -- so
21       Howard left after -- so the Governor ran for
22       his second time in 2014 and he was reelected
23       and that's when                            left and Kathy
24       Hochul joined the administration, and I
25       think Howard had promised the Governor that

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  1                             Confidential
  2      he would stick with him through that and
  3      then he left to go take a lobbying job.                            He
  4      left to go take a lobbying job.                       He went to
  5      go work for some company that lobbied for
  6      airlines or airports.               And so he took off,
  7      and then he was replaced in -- in a quick
  8      amount of time by Jim Malatras, who was
  9      young and who had been working for SUNY for
10       the SUNY Chancellor.              He's now the SUNY
11       Chancellor himself.             But showed up and he
12       sort of inherited me as like an accessory in
13       his office, but he didn't really have
14       anything for me to do.                The only task that
15       I'd been given by Howard that kind of stuck
16       around under Jim was I was tasked with
17       overseeing and being the Executive Chamber
18       liaison to the New York State Council on the
19       Arts, which is like a really small state
20       agency.
21                        And then I quickly started to
22       feel like Jim wanted me out of there.                         He
23       didn't really have any use for me and
24       so -- and then                                     was like
25       beleaguered and hadn't been promoted to dept

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  1                             Confidential
  2      sec from assistant secretary and he already
  3      had a special assistant person and he didn't
  4      really need for anything.
  5                       And a gentleman by the name John
  6      Maggiore, who had been serving as the chief
  7      of staff to                     , was promoted, like
  8      they kind of created a job for him.                     They
  9      called him the director of policy after
10       left, and they brought him over from the
11       Lieutenant Governor's Office to the -- to an
12       office across the hall from the Director of
13       State Operations Office, previously occupied
14       by          -- shoot, a
15
16                         ,
17                                                                ,
18                                           , so in his office.
19       So John was had been put in that office.
20                        And I had been trying to make
21       inroads with John, knowing, you know, John
22       was from Buffalo and was very policy-minded
23       and a smart person, and I thought maybe he's
24       somebody that I could align myself with,
25       maybe he has an opportunity, maybe he could

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                                                                     Page 33

  1                                Confidential
  2      use me for something.                 So I lobbied to get
  3      in with John, and he basically put me at a
  4      desk outside of his office, gave me access
  5      to his e-mail and I was like a scheduler for
  6      him and I helped him write op-eds and
  7      speeches.            I helped with the -- helped
  8      writing the State of the State policy book,
  9      things like that.
10                             But again, it lacked a lot of
11       structure.            I found out through the
12       grapevine in the Chamber that the policy
13       team under John was viewed as the "land of
14       misfit toys."            It was me, a woman by the
15       name of                      , a gentleman named
16
17                                                               ,
18
19                                                                     ,
20
21
22                   .   So           was there and there were a
23       couple of other random people.                       And we
24       didn't really know what our jobs were.
25                             So I started looking -- this was

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  1                             Confidential
  2      towards the -- like the middle of
  3      2015 -- early 2015, middle of 2015, and then
  4      I started actively looking for a job just to
  5      get out, just like be closer to home and get
  6      some semblance of structure and normalcy
  7      back into my life.
  8                  Q.   Did you have an understanding of
  9      what the idea -- "the land of misfit toys"
10       meant or was meant to convey?
11                   A.   Yeah, it was like you guys can't
12       really cut it, you're not cut from the same
13       fabric as the other -- you know, the pit
14       bulls basically that rise to prominence in
15       Cuomoland.       So you kind sit here and take
16       what they give you and do -- but no one was
17       ever really going to get fired because they
18       didn't want to let anyone go.                      I started to
19       learn early on they didn't want to allow
20       people to leave I think because of, you
21       know, knowledge of the inner workings, and
22       they like to protect the narrative and
23       control where you go after you work for the
24       Governor, so that you're in some sense of
25       beholden and you're not going to like be a

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  1                             Confidential
  2      whistleblower or something.                        Because I
  3      remember when I got the job at Cornell and I
  4      got out, people sort of murmuring, like,
  5      wow, you're lucky.
  6                       Para but it was a lateral move.
  7      I was making the exact same salary and I had
  8      to move.      It was not like I did it -- I
  9      viewed my decision to get out and to get
10       that job, I viewed it as a personal and a
11       professional failure, like I can't cut it on
12       the second floor, I can't cut in Albany.
13                        Also, I was
14                                                            .
15                                       .
16
17                        .    But some folks there were,
18       like, oh, you were lucky, you got out, you
19       didn't need to call in any favors, like
20       you're free kind of thing.
21                        There was one story that I
22       learned of sort of early on, a young woman
23       named                               , who had been working
24       for                    , who at the time was the
25                                                                , she got

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  1                             Confidential
  2      a job offer, I think, working for                         , like
  3      a better job, better pay, and because she
  4      didn't ask Joe Percoco's permission to apply
  5      for the job, he like flipped out at her and
  6      yelled at her, and then he called                          and
  7      had the job offer taken away.                      And I learned
  8      of that, you know, through secondary
  9      sources, but that was the first time I
10       learned that, you know, they don't let you
11       go without a fight, particularly if you have
12       spent time working on the campaign, if had
13       seen things, heard things, which was kind of
14       disconcerting, I guess.
15                   Q.   And when did you learn about
16                                   experience and difficulty
17       leaving to go to                ?
18                   A.   How did I learn about it?
19                   Q.   First, when, the first time?
20                   A.   Oh, probably in early like 2014.
21       Sometime in 2014.           And I learned of it
22       through younger staffers.                   There was sort of
23       a cohort in the second floor and in some of
24       the agencies of younger staffers who had
25       worked on the campaign.                 They called

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  1                             Confidential
  2      themselves "the crew."                And                      ,
  3      who was the woman I mentioned earlier, who
  4      sat near me, was one of them.                      And then
  5      there was a gentleman named                               , who
  6      was one of them.                                   , who up
  7      until recently was still working for the
  8      Governor, was a big part of that crew.
  9      Several --                                                .
10                                                                          .
11                             worked in the Lieutenant
12       Governor's Office.            There were a bunch of
13       them.       And I -- I didn't ingratiate myself
14       to them necessarily.              They didn't like the
15       Fellowships.        They were kind of upset when
16       the Fellowships showed up because we all
17       showed up without having volunteered on the
18       campaign and we were making more money than
19       all of them and we were kind of around the
20       same age and they didn't like that.                      And --
21       and because I had to work in close proximity
22       to so many of them, I used my soft skills to
23       try and just be nice and like get along with
24       them and convey to them that like, hey, I
25       don't know what the heck I'm doing here, I

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  1                             Confidential
  2      don't know what I'm doing here, I'm sorry, I
  3      didn't realize that that was case.                     You
  4      know, and I started to be friendly with
  5      them, and I learned through them some of
  6      that gossip, you know, I learned about
  7      and I learned about like other -- just other
  8      bits of gossip.
  9                  Q.   What other bits of gossip did
10       you learn from them?
11                   A.   Umm, there was a lot.                Like who
12       was hooking up with who kind of thing.
13                   Q.   Did you learn any information
14       concerning the Governor from any members of
15       the crew?
16                   A.   I learned that the Governor
17       doesn't use e-mail.             I learned that the
18       Governor -- I learned through them that like
19       the Governor could get like really, really
20       mad and scream and yell.                  I learned
21       about -- there was a gentleman named
22
23
24                                                                , and
25       I learned about the time that                         pissed

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  1                             Confidential
  2      off the Governor and the Governor like got
  3      up in his face with a football.                    And I
  4      learned that the Governor likes -- the
  5      Governor likes leggy women and the Governor
  6      only wears Salvatore Ferragamo ties.                       I
  7      learned about the time that he got down and,
  8      you know, shoe-shined                                   shoes.
  9      I learned that the Governor doesn't like
10       when the guys wear anything besides white
11       dress shirts.         And I learned that the
12       Governor only likes things whenever he's --
13       because                     was one of his advance
14       guys, and I learned how they would have to
15       like change the thermostat so that it was 60
16       degrees for the Governor, that kind of
17       stuff.      Nothing -- nothing about like the
18       Governor having sex with people or touching
19       anybody, nothing like that on that lever.
20       Just like the Governor is a tyrant
21       basically.
22                        And then in terms of like other
23       gossip, I learned that                              ,
24
25

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  1                              Confidential
  2                                                                     .    I
  3      thought that was bizarre.                   I learned through
  4      them that                           ,
  5
  6                                                         , and I
  7      thought that was weird.                 And I learned
  8      about, oh, in Albany everybody has like an
  9      Albany girlfriend, like the
10            , you know, they stay out all night, and
11       I remember feeling kind of gross and seedy
12       about it.
13                           And I could understand why the
14       crew developed like rapport with one
15       another.          You know, they were all in like
16       their 20s and from like all over New York
17       State and like their families were like from
18       all over the place and they found family in
19       each other and solace and comfort, despite
20       all of the gross savagery.
21                   Q.      You mentioned that you learned
22       from the crew that the Governor doesn't use
23       e-mail.          Did anyone ever discuss any reasons
24       why the Governor didn't use e-mail?
25                   A.      Yeah, I learned from

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  1                              Confidential
  2                  , who was tight with Rich Azzopardi,
  3      that the Governor doesn't use e-mails
  4      because he doesn't want to put stuff in
  5      writing.       He would only uses BlackBerry
  6      messaging.       And I also learned this through
  7                  because                -- one thing --
  8                       So I'll just say this about
  9                    When I was working under him,
10
11                                            , he never -- I
12       remember he seemed sort of put off and
13       annoyed by the fact that I was chipper and
14       excited to work there, almost like he was
15       like why do you want to work here, it's the
16       worst frigging place in the world.
17                        And because -- because
18       was constantly on the Governor's speed dial
19       list.       Like I remember hearing him on the
20       phone with the Governor, the Governor
21       yelling at him, the Governor constantly
22       Blackberry messaging him, and                            had
23                                                                       ,
24       and I could tell it was really a strain for
25       him working there, and in some of my

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  1                             Confidential
  2      traveling with                    for the Regional
  3      Council stuff, he would divulge stuff like
  4      that, like, yeah, he doesn't e-mail, he
  5      doesn't da-da-da.
  6                       And then just a couple of years
  7      ago, I think it was 2018, I was at a
  8      conference in San Francisco for my job at
  9      SEMICON West, and                       was there because
10       at the time -- you know, he got out for a
11       few years and was tasked to run the center
12       for economic growth in Albany.                     He's not
13       there anymore, but because he was at CEG, he
14       went to that conference, and he and I got
15       beer together and
16                             and he was honest with me and
17       shared a lot about how awful it was and how
18       miserable he was and how chaotic it was and
19       how the job didn't make any sense.
20                        So anyways, the short answer is
21       I learned through                       and through some
22       folks involved in the communications team
23       that the Governor doesn't put anything in
24       writing, really.
25                   Q.   Let's rewind to your move to

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  1                             Confidential
  2      Howard Glaser's office, after you worked
  3      with him on these reels, at the time what
  4      did you think that the move to Howard
  5      Glaser's office meant?
  6                  A.     I thought it meant that I was
  7      being promoted to a higher level position
  8      and that I had taken my Fellowship a step
  9      further and sort of made it, and I
10       remember -- you know, those feelings you get
11       like if you get promoted or you get
12       something that other people want and you can
13       tell like people are sort of envious of you,
14       and you feel sort of ashamed, but you are
15       also sort of proud of yourself, I remember
16       feeling like with the other fellows, like
17       they were all kind of like envious, like,
18       wow, Ana gets to go over and work in
19       Howard's office.
20                          And I remember                        , who
21       was
22
23                    .   We had professional development
24       stuff that we would do on the side.                     Tuesday
25       night we would go to the Rockefeller

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  1                             Confidential
  2      Institute and take classes and listen to
  3      lectures with each other, and I remember
  4      announcing to the team, you know, everybody,
  5      Ana is working in Howard Glaser's office,
  6      you know, this is evidence of the fact that
  7      the Fellowship really works and, you know,
  8      we're unearthing talent from different
  9      corners of the state and all over the place
10       and installing you in higher levels of state
11       service.         So I thought it was a big deal.
12                   Q.     Did anyone say -- did anyone
13       else say anything to you in addition to what
14       this gentleman you just mentioned say to you
15       make you think that the move to Howard's
16       office was a big deal?
17                   A.     Yeah, well, when
18       came to my previous office space to let me
19       know that this was happening, he said
20       congratulations, you know, you caught his
21       eye.                            said congratulations,
22                         said congratulations, like, wow,
23       somebody likes you, you know, get ready for
24       bigger and better responsibilities.
25                   Q.     Did you have any understanding

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  1                             Confidential
  2      of the reasons you were moved to Howard
  3      Glaser's office?
  4                  A.    I was not informed, like he
  5      didn't call me into his office and say I
  6      really was impressed by your work ethic and
  7      your skills and I want to bring you over to
  8      do X, Y and Z.         I thought it was because he
  9      was impressed by overseeing my efforts to
10       reconfigure the Regional Council award
11       ceremony videos and that he thought I was
12       somebody who maybe he could groom into a
13       role on his team.
14                         The desk that I occupied in his
15       office had previously been occupied by a
16       gentleman named                           , who was an
17       attorney.
18
19                   , and so there was this open desk and
20       Howard put me on it, and I was like, oh, I'm
21       not a lawyer, what does he want me to do,
22       and I never really got an answer to that.
23                   Q.    Did you ever talk with Howard
24       about your background?
25                   A.    No, he never really asked.

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  1                             Confidential
  2      There were certainly times when I might have
  3      divulged like, oh, yeah, I used to work in
  4      the news media.          He knew I was from
  5      Rochester and that I had worked in economic
  6      development, but beyond that, I don't -- I
  7      don't know what he knew.
  8                       I quickly -- and maybe this is
  9      just an assumption, but it was an assumption
10       that was like bolstered by other people's
11       observations, and it's something like when
12       you're a woman who is attractive and you can
13       tell when people are looking at you, you can
14       tell when -- you can tell when certain
15       things are granted to you because you're
16       good looking.         I felt like that was why.                 I
17       quickly sort of chalked it up to that.                      I
18       was like, well, I'm not here because they
19       think I'm like Elon Musk or something.                      I
20       just fit the profile and I do what I'm told.
21                   Q.   When did you start feeling that
22       way, that the reason for your move was
23       because they thought -- because someone
24       found you attractive?
25                   A.   Not long after I went over

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  1                             Confidential
  2      there.      You know, maybe about a week or two
  3      in.     Because                                    , who was
  4                                                    , and who had
  5      been working in that environment her whole
  6      career, like she had been
  7                   , she was the secretary that
  8      actually -- she told me she cleaned out
  9                             office when he left.                    She
10       had been there forever, she was seated in
11       that office where I was situated, she was
12       very observant, she had a good relationship
13       with the Governor's secretary and briefers
14       and everything, and she was the one who told
15       me wear high heels, look attractive, wear a
16       skirt, wear a dress, you know, do your hair,
17       all that, and she had observed --
18                         Like when the Governor
19       first -- it was like my second or third day
20       in the office and the Governor was there,
21       and he came through and sort of was
22       flirtatious and, you know, friendly, and she
23       said, oh, he likes you, honey.                        And I was
24       told that he likes blonds, and I thought,
25       okay, well, I guess this is Mad Men.

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  1                             Confidential
  2                        And so I thought my currency was
  3      what I looked like, and I noticed that most
  4      of the other women on that side of the
  5      second floor were conventionally attractive
  6      women and they all dressed to the nines and
  7      wore stilettos and skirts and that was the
  8      environment.
  9                  Q.    What did you think when
10                          told you, oh, he likes you,
11       honey, and, oh, that he likes blonds in
12       relation to the Governor?
13                   A.    I thought, oh, okay, well, that
14       means, like, he'll remember my name and
15       he'll know who I am, and I guess that's a
16       good thing.        I didn't think that that means
17       the Governor is going to try and be a
18       predator.        I just thought he was, like, a
19       creepy middle-aged man, but he was a really
20       powerful man, and in that environment he was
21       the center of gravity, and everywhere that
22       he was the most important place.                   So if he
23       looked kindly upon you, it was like the sun
24       was shining upon you.
25                   Q.    In what way was it like the sun

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  1                               Confidential
  2      was shining on you if the Governor looked
  3      kindly upon you?
  4                  A.    You know, that means that the
  5      most powerful man in New York State likes me
  6      and my job here is safe and maybe it means
  7      that I will get promoted and I will earn a
  8      bigger salary here and I will -- and other
  9      people will begin to know my name and I will
10       have bigger responsibilities simply because
11       Andrew Cuomo thinks that I'm cute and sweet
12       and worthy of his trust.
13                   Q.    Did you see things play out that
14       way for anyone?
15                   A.    Yes.
16                   Q.    Who?
17                   A.    Melissa DeRosa,
18                    , Annabel Walsh, many of his
19       briefers.        Many of his briefers, they
20       were -- his briefers were always young women
21       and they oftentimes were promoted to better
22       jobs if he liked them.
23                         And certainly Stephanie Benton,
24       I mean, as an admin she was one of the most
25       powerful people on the second floor.                     He

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  1                             Confidential
  2      gave her carte blanche, you know, and she's
  3      a beautiful woman who -- and then
  4                                      , I think is her first
  5      name,                       was another one.                     ,
  6                                                         , she was the
  7                                                                .
  8                       And I don't want to -- it's hard
  9      to explain, but you know, it's Albany, it's
10       not known, it's not like it's Beverly Hills,
11       you know, and I was just -- there were just
12       so many beautiful women everywhere in that
13       immediate -- in those immediate -- in that
14       immediate vicinity.             And I know that that's
15       not illegal per se, but --
16                   Q.   When you say "beautiful"?
17                   A.   -- it raised the flag.
18                   Q.   When you say "beautiful women,"
19       could you describe what they looked like?
20                   A.   Long hair, long slender legs,
21       dresses and skirts, both blond and brunette,
22       you know, cleavage and jewelry and sweet
23       smelling perfume.           I felt like I kind of had
24       to step up my game there.
25                   Q.   What about in terms of age, was

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  1                              Confidential
  2      there a particular profile there?
  3                  A.   Yeah, 20s and 30s for briefers.
  4      Secretaries working under Stephanie, any of
  5      the fellows that were elevated into
  6      assistant secretary or deputy secretary
  7      roles were younger women.                   And then there
  8      were some older women too, like
  9                        and                              and
10               , who were not young per se, they were
11       in their 40s, but you know, were trading in
12       the same currency.
13                        And I overlapped quite a bit
14       towards the end of my Fellowship with
15       Lindsey Boylan, and I remember recalling the
16       same thing, like, oh, wow, she's so
17       beautiful and so tall, and I noticed that
18       she was always coming to Albany and meeting
19       with the Governor.
20                   Q.   What about racial or ethnic
21       background, did the women that you described
22       as the beautiful women, were they a
23       particular profile?
24                   A.   Yeah, they were white or in a
25       couple of cases Latino, but I did not see

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  1                             Confidential
  2      black or brown women in that type of
  3      position or in that type of category or
  4      profile.
  5                       Also, I remember there was a
  6      woman named                         , who -- I think she
  7      was the
  8                  or something.             I can't recall
  9      exactly.                                                          ,
10
11                                  , and I just remember that
12       Joe Percoco and the Governor, like, hated
13               and they would make fun of her, and
14       ultimately they got rid of her.
15                        I remember thinking like that's
16       probably not just based on her track record,
17       because she was really smart and had a lot
18       of credentials.          It was probably because she
19       wasn't pleasing to the eye for them.                     I
20       remember that struck me as like, oh, of
21       course, they're going to throw somebody like
22       that out on the curb or make her feel so
23       unwelcome and uncomfortable here or
24       powerless here that she'll go, you know, for
25       greener pastures.

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  1                              Confidential
  2                  Q.      Do you remember what led to her
  3      departure, whether she left or she was
  4      dismissed?
  5                  A.      I don't recall either way.              I
  6      just remember she left or she was gone.
  7                  Q.      After your initial pride about
  8      moving desks to Howard Glaser's office, how
  9      did you feel about moving desks?
10                   A.      I felt trapped.
11                   Q.      What do you mean by that?
12                   A.      I felt like on the one hand I
13       had been given this great opportunity and
14       other fellows and other staff members in the
15       Chamber were envious and thought, wow,
16       that's so cool, Ana gets to sit there, she's
17       so lucky, but then on the other hand, I felt
18       like I was collecting dust and I wasn't
19       being given a lot of meaningful work and
20       that I felt that somehow that was my fault,
21       like I didn't -- I wasn't taking enough
22       initiative, I wasn't enough of a -- I wasn't
23       aggressive enough.            Like I -- it was very
24       hollow.          I wasn't being given enough work to
25       sort of fill out eight hours a day, and I

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  1                              Confidential
  2      wasn't being called to New York City really
  3      at all.          And at the time that was really the
  4      seat of New York State government.                    The
  5      Governor was in New York City all the time
  6      and not really in Albany.                   And I was like,
  7      wow, my job is a real waste of taxpayers'
  8      dollars.          And I also thought that it was
  9      weird and ironic that, you know, I was a
10       line item in HCR's budget and I wasn't doing
11       any work that had do with housing and
12       community renewal.            And I just felt like an
13       accessory kind of thing.
14                   Q.      When you say you "felt like an
15       accessory," what do you mean by that?
16                   A.      Like I was allowed to
17       participate in soirees here and there at the
18       Executive Mansion and I was allowed to play
19       functional roles and things like Regional
20       Council meetings still on a case-by-case
21       basis that were public facing, but
22       internally I wasn't a real cog in any one
23       wheel, and the Governor -- so working in the
24       Executive Chamber, you're supposed to feel
25       like, okay, I work for the Governor of the

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  1                             Confidential
  2      State of New York, the Governor is my boss.
  3      The Governor didn't have any clue, I think,
  4      what I was doing there or what my job was,
  5      never asked me a question about it, and I
  6      thought that was weird.
  7                       And I thought it was my fault,
  8      like I thought I'm not smart enough to be
  9      here.       Even though I continuously was
10       planting seeds, I was always asking
11                    and John Maggiore and other folks,
12       like do you need me to do anything, what can
13       I do, do you have any projects for me to
14       work on, is there anything that I do to help
15       you out.
16                        And I remember wishing that I
17       had been given a less sexy and visible
18       assignment.       Like I wished that I was put in
19       a desk at like the State Liquor Authority or
20       something and tasked with making a program
21       more efficient or something like that so
22       that I had a real purpose.                    But like I was
23       doing things like checking people in at
24       mansion parties, and it was just -- it was
25       all very like a lot of one-off assignments.

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  1                             Confidential
  2                        And I kept track of things that
  3      I was really proud of, like the work I did
  4      for the Councils, the work I did with the
  5      New York State Council on the Arts, helping
  6      them with their budget negotiations.                      It was
  7      all stuff that in the grand scheme of things
  8      that was not seen as important at all, but
  9      for me it was like this is important, this
10       is my track record.             I know I'm not going to
11       be here forever, I need to like tick off the
12       list and then finish my Fellowship and then
13       I'm going to get -- go back upstate.
14                   Q.    I want to go back to the
15       comments you had made earlier, the
16       statements you made about
17                   , and you said that Joe Percoco and
18       the Governor used to make fun of her.                      What
19       would the Governor say about                               ?
20                   A.    I don't recall hearing him
21       specifically saying anything.                      A lot of what
22       I knew that the Governor -- a lot of the
23       opinions that I knew he held, the sort of
24       derisiveness that -- with which he would
25       treat people, I learned through secondary

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  1                             Confidential
  2      sources.         But I knew they would call her, I
  3      think it was,
  4      or something.
  5                  Q.     Do you know if the Governor
  6      called                     that?
  7                  A.     I didn't hear of any that
  8      offhand.         Part of me thinks that, you know,
  9      in some ways I was protected from it or like
10       I was intentionally -- there was like a
11       certain wall that was put up.                      But I have it
12       on good authority that the Governor shared
13       those opinions.          There were certain people
14       that he was -- there was Joe Percoco, Howard
15       Glaser, Jim Malatras, certain
16       individuals -- Larry Schwartz, certain
17       individuals who were privy --
18       too, that were privy to his inner thoughts
19       and discriminatory -- the labels that he
20       would place on people.                So I can't speak to
21       those things directly.                I just believed that
22       those were things that he may have said.
23                   Q.     Were there any other
24       discriminatory things that you were told the
25       Governor may have said?

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  1                             Confidential
  2                  A.    I would have to think about
  3      that.        I guess no.      Just that the Governor
  4      didn't like unattractive people unless you
  5      had something else to offer, I suppose.                       So,
  6      no, yeah, I don't know if I could speak to
  7      that.
  8                  Q.    Just continuing, completing that
  9      line of questioning, are you aware of any
10       statements other than the
11       statement by the Governor that would be
12       considered offensive regarding members of
13       the LGBTQIA community?
14                   A.    Not that I was privy to.
15                   Q.    Or anything that you heard
16       about?
17                   A.    No, no, I couldn't speak to it,
18       but I certainly wouldn't be surprised if
19       there was other activities taking place that
20       were discriminatory.
21                   Q.    And did you hear or hear about
22       any comments by the Governor that would be
23       offensive to racial or ethnic minorities?
24                   A.    No, no, not that I can recall.
25                         The only thing I know again that

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  1                             Confidential
  2      I think is public knowledge is that, you
  3      know, Andrew being the brainchild of Vote
  4      for Cuomo Not for the Homo, the campaign
  5      language used for his father's campaign
  6      years ago, you know, so.                  And there
  7      certainly were not -- there were people
  8      across the spectrum, like racial spectrum
  9      and LGBTQAI (sic) plus spectrum in
10       administration.          But like at the upper,
11       upper echelon of his, you know, inner -- the
12       inner sanctum, it was by and large straight
13       and Caucasian except for Alphonso David.
14                   Q.   You said the Governor did not
15       have unattractive people unless they had
16       something else to offer.                  What did you mean
17       by unless they had something else to offer?
18                   A.   Like connections, money, power,
19       knowledge credentials.                Like I remember
20       feeling like, wow, literally the only reason
21       why I'm sitting here right now is because
22       I'm good looking and because I
23       don't -- otherwise, I'm not serving any
24       other purpose here.             So I guess it's hard to
25       elaborate more on that.                 It was just an

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  1                               Confidential
  2      observation, I guess.
  3                  Q.       After Mr. Glaser left and he was
  4      replaced by Mr. Malatras, did you continue
  5      to sit at the same desk in the office where
  6      Mr. Glaser used to sit?
  7                  A.       Yes, for a period of time, a
  8      handful of months, I think, until I -- you
  9      know, I talked to John Maggiore to move
10       over, and I think Jim Malatras talked to
11       John to make that happen, he wanted to make
12       room for another person in his office.                        I
13       don't know -- he didn't replace me until I
14       think after I left to go work for Cornell.
15       'Cause I continued -- when I switched work
16       spaces, I was working in the office across
17       the hall, so I still had sort of a view on
18       the office and my old work space.
19                            Jim had a very different style
20       than Howard Glaser and there was a changing
21       of the guard, I guess.                 Like he -- like
22                        left when Howard left and then Jim
23       brought in a gentleman by the name of
24                                 (phonetic) who was like one
25       of his assistants, I guess, at                       .   So

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  1                               Confidential
  2                       came over, and I started to feel
  3      like, okay, the vibe here is different.                       Jim
  4      is not giving me assignments, but he didn't
  5      tell me I want you to go here, there.                      I had
  6      to sort of figure out on my own where I was
  7      going to go if I wanted to say.
  8                  Q.       What kind of assignments did
  9      Howard give you?
10                   A.       He had me -- my first assignment
11       for him was updating a presentation
12       prevention about Super Storm Sandy recovery
13       that he was going to be delivering to the
14       Crain's New York breakfast, it was like an
15       annual Crain's New York breakfast.                    He was
16       fed up with a woman named                            , who was
17       the
18                                    , I don't know why, he
19       felt that she was too much of a character,
20       and he asked me -- he's like, okay, I think
21       I want you to be sort of like kind of the
22       assistant secretary for the arts.                    You know,
23       we don't really have a place to put the arts
24       in any one portfolio, they don't really fit
25       in Economic Development, they don't really

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  1                             Confidential
  2      fit anywhere else, we just need you to sort
  3      of oversee them, and that became my job, but
  4      it was such a small agency that never got
  5      any attention or any bandwidth in the
  6      perspective of Governor.
  7                         I thought that it was really
  8      cool and important.             I took that and ran
  9      with it.         It was like literally the only
10       thing that gave me any meaning from the time
11       that Howard gave it to me until I left.                       I
12       was like this is it.              And I remember
13       sent me like a flower bouquet when I was
14       leaving, they liked having me represent them
15       on the second floor.
16                          And then beyond that, he would
17       have me wordsmith speeches and
18       presentations, he would have me take notes
19       when he was in meetings with people, he
20       would have me schedule meetings for him, he
21       would have me like get him on the phone with
22       people, so a lot of just admin stuff.
23                   Q.     Did you speak with anyone about
24       your issues and challenges with getting a
25       meaningful work when you were at at Chamber?

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  1                             Confidential
  2                  A.   I spoke with friends.                  You know,
  3      I shared some of my concerns with                               ,
  4                                                  , expressed
  5      frustrations, spoke to family, but I didn't
  6      really have recourse on the second floor.                           I
  7      talked to                  like I said, and I talked
  8      to John Maggiore just saying, you know, I
  9      would like to stay here, I'm passionate
10       about helping carry forth the agenda, I'm
11       just looking for something with a job
12       description and a job title so I know that I
13       have a certain purpose here.                       Not --
14                        Those conversations turned into
15       me essentially acting as John Maggiore's
16       admin, and then I learned that we were the
17       "land of misfit toys" and then I got out.
18       And it wasn't just because of professional
19       frustration.        It was a lot of personal
20       frustration too, just feeling -- you know,
21       your job represents such a big piece of who
22       you are in our society, who -- the value
23       that you assign to yourself, and I just
24       believed at that point in time that I was a
25       big zero.

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  1                               Confidential
  2                           And I learned the word "zero"
  3      from the second floor actually.                      That was a
  4      big -- that word that was tossed around a
  5      lot by the Cuomo acolytes, "loser" and
  6      "zero."           And I felt if I wasn't good
  7      looking, I wouldn't be sitting there and I
  8      would truly be a true real zero.                      And a lot
  9      those, you know, they're machinations in my
10       own mind, but it played out.
11                   Q.       When you say you felt like you
12       didn't have any recourse, what's the reason
13       you felt that you didn't have any recourse?
14                   A.       Well, there were no secrets
15       there.           Like -- like I -- so first of all, I
16       was never briefed on the Governor's Office
17       of Employee Relations or GOER.                      I didn't
18       know that there was an HR function.                      That
19       wasn't part of my orientation process.                         I
20       was never introduced to anyone there.                      And
21       anything having to do with HR, I felt like,
22       oh, I would have to go through the New York
23       State Division of Homes and Community
24       Renewal, I don't even know anyone there, I
25       just know they sign my paychecks, and if I

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  1                             Confidential
  2      were to go over there and say I'm frustrated
  3      with my role here, I'm looking for
  4      reassignment, they would have no idea what I
  5      was even talking about, so that's -- you
  6      know, when I said earlier I felt trapped,
  7      that's kind of why I felt trapped.
  8                       Like the only way that I could
  9      advance in my career and get to a place
10       where I would feel satisfied and moving
11       forward was if I got out and I got a job
12       somewhere else, but the only way I could get
13       a job somewhere else is if I could show some
14       sort of value contribution and structure,
15       evidence of structure of the two years I was
16       there, which is why I took it upon myself to
17       really keep a track record.
18                        And you know, and I took
19       a -- and I took a -- I made a lateral move
20       to go work at Cornell, and ultimately got my
21       career back on track, but I didn't -- none
22       of that was owing to the experiences I had
23       in Albany, except for knowing, you know, how
24       things work in Albany is a value to me in
25       the job I have today, I suppose, but it was

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  1                             Confidential
  2      just -- it was a -- it was not a traditional
  3      workplace environment.
  4                        Certainly there were laws and
  5      policies and rules in place that in black
  6      and white were probably there to protect me
  7      and to help me, but I didn't know about
  8      them.        And I also knew about stories, like,
  9      you know,                                 , and like
10                    , who felt like he was trapped there,
11       and I thought, wow, well, I guess we all
12       just have to just sit here and be punished
13       until we're granted like an opportunity like
14       a parachute to get out.
15                   Q.    And just following up on
16       that -- well, actually, before I move on:
17       Did you feel like you could speak with
18       anyone who was part of the Fellowship
19       program about the frustration with your
20       experience at the Chamber?
21                   A.    Yeah, we were told that it was
22       like a resource and we were afforded
23       the -- you know, the folks at the
24       Rockefeller Institute who helped develop the
25       curriculum to help us learn about state

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  1                             Confidential
  2      government that supplemented our work
  3      experience, and then there were a few staff
  4      members with the New York State Department
  5      of State, who were in charge of like
  6      managing the Fellowship program and staffing
  7      it.     I can't recall the name of the woman
  8      off the top of my head, she's no longer
  9      there, but she was
10
11
12                                                          .       She was
13       supposed to be my -- like a resource, but I
14       didn't use it because I believed that I had
15       to survive and figure it out on my own and I
16       didn't think there was anything that she or
17       anybody in the Rockefeller Institute could
18       do to help me.
19                        It was supposed to be my mentor,
20       it was supposed to                                     .     Even
21       after I was reassigned into Howard's office,
22       my mentor remained                      , and so I was
23       supposed to leverage that relationship, you
24       know, and -- so I probably could have worked
25       harder to advocate on my own behalf, but I

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  1                              Confidential
  2      was just confused and scared and uncertain.
  3                  Q.      What's the reason for saying you
  4      probably could have worked harder to
  5      advocate for yourself?
  6                  A.      Well, I was scared of
  7      consequences, and there was a lot that I
  8      kept to myself because I was afraid if I
  9      divulged to anybody that I felt like I was
10       in a                                      or I felt that I
11       wasn't cut out for the job or that I wanted
12       to be reassigned, that that was going to
13       reflect poorly on me.               So I was really
14       careful about how I managed that.                        And it
15       was a while ago, so some of it, you know,
16       it's hard to really articulate what may have
17       been going through my mind.                        I wasn't even
18       30 yet.          And yeah, I felt like I was
19       failing, failing, failing, failing, failing,
20       and I just had to like keep up appearances
21       to make it look to the outside world like
22       everything was fine, even though I was
23       struggling in that workplace environment.
24                   Q.      Let's go to -- actually sticking
25       with that topic, did you speak with any of

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  1                              Confidential
  2      your peers about how you were experiencing
  3      your time at the Chamber?
  4                  A.      Yes, I did.         There were a couple
  5      of fellows that were, you know, friends of
  6      mine, and we might as a group go out for a
  7      drink here and there, celebrate a birthday,
  8      and I remember communicating to them -- like
  9      one was                    , I think                  is still
10       there, he works for the
11                        , and then                        , who works
12       for the                                 now, and
13                        , who had been assigned to the
14                                             , I think he
15       works -- lives in                           now.     And I
16       remember just kind of expressing to them how
17       demoralizing it was and how stupid it was
18       and meaningless, how to the average person
19       in New York State -- you know, for the State
20       of the State, for instance, we would talk
21       about all these programs that we were
22       putting in place, but it was all -- a lot of
23       it was just phony.            We would make a big
24       announcement and attach a number to it, and
25       then we wouldn't build any of the

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  1                             Confidential
  2      infrastructure to support.
  3                       I entered the Fellowship with
  4      this Pollyanna-thinking that it was a
  5      functional workplace environment and that we
  6      were going to make things happen and I
  7      quickly learned that that wasn't the case,
  8      and I confided in some of the other fellows
  9      about how frustrating and strange that was
10       and also just the fact that --
11                        Because, you know, they would be
12       like, wow, look at you sitting in the State
13       Operations Director's Office, and I'd be
14       like it's a horrible place to be, not what
15       it -- I feel like I wish that I was back
16       over in the Lieutenant Governor's Office
17       sitting in that little cubbyhole doing
18       smaller assignments because that felt in
19       some ways a little bit more meaningful.
20                   Q.   Do you remember around what
21       month you moved to Howard Glaser's office?
22                   A.   Yeah, it was November of 2013.
23                   Q.   When you started the Fellowship,
24       did you get any kind of orientation?
25                   A.   Yes, there was an orientation

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  1                             Confidential
  2      associated with the Fellowship where we
  3      learn about state government, this is how
  4      the legislature is structured, this is how
  5      the budget process works, this is the
  6      history of the New York State Constitution,
  7      this is what the Fellowship is supposed to
  8      be, this is going to be your mentor, this is
  9      where you're going to be assigned, but the
10       orientation didn't involve anything having
11       to do with human resources in state
12       government; you know, like helping us get
13       our badges, knowing where we were supposed
14       to sit on day one, there was no like org
15       chart or employee handbook or anything that
16       we were given.         So it was kind of like a
17       higher level orientation of, you know, you
18       guys are the new New York State leaders,
19       congratulation, let's teach you all about
20       New York State government and then we'll
21       throw you into the professional -- like your
22       duties and then we will go from there, but
23       it wasn't like a practical orientation, I
24       guess, is the right way to put it.
25                   Q.   Did you get any policies or

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  2      trainings on sexual harassment as part of
  3      your orientation?
  4                  A.   Yeah, yes, we did learn about
  5      sexual harassment and forms of
  6      discrimination.
  7                  Q.   And separately from your
  8      orientation, did you ever get any policies
  9      or training on sexual harassment and forms
10       of discrimination?
11                   A.   I think after -- wasn't there
12       like a law passed and we had to watch a
13       video, but nothing that was really robust.
14       I remember having to watch a video and like
15       click a confirmation that I had watched a
16       video.
17                   Q.   Do you remember getting a
18       handbook that covered forms of
19       discrimination and sexual harassment?
20                   A.   No, I don't remember getting a
21       handbook.
22                   Q.   We're going back to the
23       exhibits, and we are going to refer to Tab 1
24       and we will mark it as an exhibit.
25                        (Exhibit 3, handbook, Tab 1,

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  1                                  Confidential
  2                  marked for identification, as of this
  3                  date.)
  4                  A.       Tab 1.
  5                  Q.       Tab 1.
  6                  A.       Okay, I have it open.
  7                  Q.       So Tab 1 should be the New York
  8      Executive Department handbook for Employees
  9      of New York State Agencies dated December
10       2011.        Do you see that?
11                   A.       Yes.
12                   Q.       Have you seen this document
13       before?
14                   A.       Not that I can recall.            It may
15       have been given to me in a larger packet of
16       materials and I may have just not looked at
17       it.
18                   Q.       Okay.      We're going to turn to
19       page 11.
20                   A.       I'm on page 11.
21                   Q.       Great.       The third subheading
22       under "SEX" says, "Sexual harassment" and it
23       goes on to define "sexual harassment," and I
24       can give you a couple of minutes to read
25       that.

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  1                             Confidential
  2                  A.   Okay, I've finished reading
  3      that.
  4                  Q.   Before today have you seen that
  5      definition of "sexual harassment" before?
  6                  A.   Yeah, my attorney shared
  7      the -- this language with me.                      Whether it
  8      was from this document or from somewhere
  9      else, I recall seeing it.
10                   Q.   And other than any discussions
11       with your attorney, have you seen this
12       definition of "sexual harassment" before?
13                   A.   In theory.           Maybe not
14       specifically this language, but -- I
15       suppose, yes, but I don't know if it was
16       this exact language, you know, from New York
17       State law.
18                   Q.   And specifically do you remember
19       seeing a definition of "sexual harassment"
20       from the time when you worked in the
21       Executive Chamber?
22                   A.   I don't remember specifically
23       seeing a definition or being read a
24       definition.       I just knew in general what it
25       was and that it wasn't lawful.

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  1                               Confidential
  2                  Q.       And as a reminder, in response
  3      to any of my questions, I'm not asking you
  4      for information about any communications
  5      that you've had with your attorney.                         That is
  6      protected by your attorney-client privilege.
  7                  A.       Okay.
  8                  Q.       We will take this exhibit off
  9      and move on to discuss your interactions
10       with the Governor, but before I do that, I
11       will pause and find out if Ms. Kennedy Park
12       has any questions.
13                            MS. PARK:       I don't have any
14                   other questions right now.                   Thank you,
15                   Abena.
16                            MS. MAINOO:         We will take a
17                   break.
18                            THE VIDEOGRAPHER:                We're now
19                   going off the record.                   The time is
20                   3:10.
21                            (Recess.)
22                            THE VIDEOGRAPHER:                We're now
23                   going back on.         The time is 3:17.
24                   Q.       Ms. Liss, I would like to turn
25       to your interactions with the Governor.

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  1                             Confidential
  2      When was the first time that you met the
  3      Governor?
  4                  A.    It would have been the week that
  5      I relocated to Howard Glaser's office, so
  6      sometime in November of 2013.
  7                  Q.    Please describe that first
  8      meeting with the Governor.
  9                  A.    He walked in to my office area,
10       which I shared with                                     and
11                         , and I remember, you know, he
12       was very tall, he was wearing a suit and
13       like a red tie and his pin and he went over
14       and said hello to                       , he hugged her,
15       and then he came over and was like and who
16       is this young lady and -- to me, and I stood
17       up and, you know, I shook his hand, hello,
18       Governor.        And he asked me like where are
19       you from, and it was one -- I don't know if
20       it was the first time that we had an
21       interaction or if it was one of the
22       subsequent occasions that, you know, he had
23       kissed my hand and asked me if I had a
24       boyfriend and kissed my cheek.                     I think it
25       was a subsequent interaction, but it took

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  1                             Confidential
  2      place in that office.
  3                  Q.   And how would you characterize
  4      that first interaction?
  5                  A.   It felt kind of grandfatherly
  6      and like he was sort of sussing me out, like
  7      who are you, because it was important to the
  8      Governor to know who was around him at any
  9      given time, who might be observant of what
10       was going on in that office area, and so he
11       wanted my name, where am I from, who am I,
12       I'm one of the Empire State fellows, okay, I
13       said I worked for Howard.                   I remember he
14       called me "young lady" at that point in
15       time, and I remember feeling like he liked
16       me, he was friendly.              And I remember
17       observed, oh, he likes you, Ana.                   That was
18       when she made that comment.
19                   Q.   How did you interpret that
20       comment by                 ?
21                   A.   Just that like I fit the profile
22       of the -- you know, my appearance was
23       attractive to the Governor, and that was a
24       good thing for my ability to survive and
25       stay there and that he was going to be

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  1                             Confidential
  2      friendly towards me and I didn't have to be
  3      worried or scared that I might be a target
  4      of anything negative.
  5                  Q.    At that point had you heard
  6      about anyone else being a target of any
  7      negative behavior coming from the Governor?
  8                  A.    Well, I knew about
  9                       and getting -- you know, pissing
10       off the Governor and getting summarily fired
11       or reassigned.         And I had learned from
12                             that the Governor could get
13       really angry and upset and take it out on
14       people, including                         who had expressed
15       to me that he'd been screamed at before.
16       So, yeah, I knew that his reputation was not
17       that he was a sweet and kind man.
18                   Q.    And you described the Governor
19       as "grandfatherly" during that interaction.
20       What did you mean by that?
21                   A.    Like, you know, kind of gazing
22       into my eyes and somewhat flirtatious and
23       warm.
24                   Q.    What way was the Governor
25       flirtatious during that first meeting,

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  1                             Confidential
  2      somewhat flirtatious?
  3                  A.    The way that he held my hand,
  4      held onto my hand and was making eye contact
  5      and was smiling at me.
  6                  Q.    Describe your later interactions
  7      with the Governor in the office; what
  8      interactions did you have?
  9                  A.    Very -- it was always in that
10       office we -- he would come through and say
11       hello to               , sometimes he'd be singing
12       a song, whatever, and he would come over to
13       my desk, and there were playful
14       interjections.         And at one point I remember
15       him asking do you -- do you have a boyfriend
16       and I remember him kissing me on the cheek
17       and kissing me on the hand.                        I remember him
18       asking me at one point, like, Miss Liss, do
19       you follow me on Twitter or something like
20       that.        I don't know.        It was never anything
21       all that substantive, but flirtatious
22       certainly.
23                   Q.    How did you respond when the
24       Governor asked you if you had a boyfriend?
25                   A.    I said not at the movement.                  I

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  1                             Confidential
  2      was kind of in between the time.                        I was
  3      like, no, Governor, something like that.
  4                  Q.   What did you think of the
  5      Governor asking you if you had a boyfriend?
  6                  A.   I thought it was weird, but
  7      typical of him.          Like if it was any other
  8      workplace environment, if it had been my
  9      boss here or my boss prior to the working at
10       the Governor's offices, I'd be like that's
11       disgusting, eww, but for whatever reason in
12       his office the rules were different.                        It was
13       just, you should view it as a compliment if
14       the Governor finds you aesthetically
15       pleasing enough, if he finds you interesting
16       enough to ask questions like that.
17                        And so even though it was
18       strange and uncomfortable and technically
19       not permissible in a typical workplace
20       environment, I was in this mindset that it
21       was the twilight zone and the rules -- the
22       typical rules did not apply.                        It was like we
23       were in a different decade.                        So I didn't
24       think, oh, I'm going to go complain because
25       that would have been laughable to go

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  1                               Confidential
  2      complain about something like that.                         You
  3      know, in that culture, in the office
  4      culture, I would have been laughed out of
  5      town.
  6                  Q.       Who would you have complained
  7      to?
  8                  A.       I don't even know.             Maybe
  9                   , but                             probably would
10       have laughed at me, and I didn't know the
11       first thing about GOER and where to go to
12       talk to someone there.                 I just remember
13       thinking that the broader sentiment was that
14       if the Governor thought -- if you were a
15       young woman the Governor thought was
16       beautiful and thought was interesting enough
17       to ask questions like that, you should just
18       feel flattered and, you know, maybe that
19       means -- that bodes well for your career,
20       like you're not going to get fired and
21       they're not going to talk shit about you
22       behind your back and act like you're a zero
23       and a loser and, you know, they'll want to
24       keep you around because they liked having
25       you around.

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  2                           And for me it was like, well, I
  3      need this job because I have to pay my
  4      student loans down and I really am
  5      interested in public service and government
  6      and I'm going to white-knuckle this
  7      experience, and if it means that the
  8      Governor kissing me on the cheek and asking
  9      if I have a boyfriend like leads to I get to
10       stay here and I get to be elevated, then so
11       be it.           And it feels weird saying, but that
12       was definitely what was, you know, my mental
13       calculus at the time.
14                   Q.       Did anyone communicate that
15       sentiment to you, that if the Governor spoke
16       with you and asked you those kinds of
17       questions, like if you had a boyfriend, you
18       should be flattered?
19                   A.       Yeah,               .
20                                        She was like, oh,
21       honey, that's good, that means he likes you.
22       You know,                          .     The younger people
23       in the crew that I mentioned, it was like
24       seen as, okay, that's a feather in your cap,
25       that means that he doesn't hate you.                     The

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  1                             Confidential
  2      Governor either hates you or he likes you or
  3      he doesn't -- or you're nobody to him.
  4                        And I knew a lot of the people
  5      that worked there that were subject to his
  6      abuse and ire.         You know,
  7      being one of them.                                 being another
  8      one.        These guys that were yelled at all the
  9      time and --
10                         But I didn't get yelled at, and,
11       you know, Melissa didn't get yelled out.
12       Beautiful, beautiful women that were sweet
13       and docile didn't get yelled at and were
14       given fun little assignments, I suppose.
15                   Q.    You made a comment about how the
16       culture was from "a different decade."                      What
17       did you mean by that?
18                   A.    Well, I had just around that
19       time, like I had been -- finished watching
20       Mad Men or I was in the midst of watching
21       it, and I remember thinking like, oh, wow,
22       Stephanie Benton is just like Joan Colloway
23       (sic), and you know, all of these men in
24       this have attractive female gatekeepers,
25       kind of like in Mad Men.                  And when I was

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  1                             Confidential
  2      told I had to wear heels -- you know, I -- I
  3      in my previous job prior to coming to
  4      Albany, it's not like I was dressing like a
  5      slob or anything, but I wore pants and flats
  6      and stuff, and I didn't -- I'm not good with
  7      time management.           It's not like I would wake
  8      up an hour before having to go work and like
  9      get all dolled up, but I learned that you
10       got to kind of get dolled up, and I thought
11       that felt very Mad Men era.
12                        And it was an Albany thing too,
13       so I didn't necessarily think, oh, this is
14       all just Andrew Cuomo.                I think what I
15       learned is that his MO was cooked up by, I
16       think, maybe working for his dad and like
17       running the show under his dad, like Albany
18       in the '80s and '90s, and that was very
19       much -- that culture was permeated, the
20       legislature and all the different
21       legislative offices, and it just felt like,
22       wow, I'm three and a half hours away from
23       home, but I feel like I'm a hundred.                        -- you
24       know, I feel like I'm on the other side of
25       the country from Rochester.                        This is just so

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  1                                Confidential
  2      bizarre.         Like this isn't D.C., like get
  3      over yourself kind of thing.
  4                         But people trade in sex and
  5      power and money in Albany, and that is very
  6      much true on the second floor and trickles
  7      down into the -- the far reaches of state
  8      government, and it has been that what way
  9      for a long time, I suppose.
10                   Q.     How did you learn that you had
11       to get dolled up for work?
12                   A.     From                 , from       , and from
13                    ,                    , and from general
14       observation.         You know, everybody is wearing
15       feminine attire and looks beautiful and
16       styled, and I'm not going to be the one, you
17       know, with -- I'm not going to be the one
18       not looking the part, I guess, but I knew I
19       was supposed to when he's in Albany -- and I
20       should say when he wasn't in Albany, I
21       didn't necessarily -- I didn't abide by that
22       principle, I was much more casual, but when
23       I was in Albany, I made a point to dress up
24       and to look great because I had been told
25       and I knew it was the rule.

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  1                             Confidential
  2                  Q.   How much time did he spend in
  3      Albany during your time in the Executive
  4      Chamber?
  5                  A.   Maybe a couple of days a week in
  6      nonbudget season.           It was during budget
  7      season when the LEG was in session.                     He was
  8      there more frequently.                But Albany wasn't
  9      his favorite place to be at the time.                        He
10       was still in a relationship with
11       at that point in time and he was in New York
12       a lot, and I guess I just assumed it was
13       because he was at home or something.                     I
14       understand that more recently in recent
15       years he is in Albany a lot more because the
16       Chamber -- or the Executive Mansion, excuse
17       me, has become his primary residence.
18                   Q.   What did you think of the
19       Governor kissing you on the cheek and
20       kissing you on the hand?
21                   A.   I thought he was flirting with
22       me, that he thought that I was pretty and
23       that he can get away with stuff like that
24       because he's the Governor.                    And I thought it
25       was like Italian.           And then in hindsight,

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  1                             Confidential
  2      you know, when I spoke up about all of this,
  3      I did so by and large because the other
  4      young women that had come forward with more
  5      egregious allegations weren't being believed
  6      and I believed them and I wanted to share an
  7      account that was less egregious and spoke to
  8      the broader culture that allowed for the
  9      things that happened to them to happen to
10       them.       The tolerance for those
11       micro flirtations, I guess, that would allow
12       for him to act a certain way behind closed
13       doors with women in more serious manners.
14                        You know, I didn't observe
15       anything that -- I didn't observe any of
16       those instances, but I believed that I
17       wanted to tell the truth about what I had
18       experienced because people needed to
19       understand that it's not just Andrew Cuomo
20       closing a door and grabbing someone's
21       breast.       It was a whole army of women that
22       were being, you know, subject to smaller,
23       less serious physical interactions and that
24       that's evidence to the larger -- provides
25       more evidence to the more serious stuff

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  1                             Confidential
  2      that's happening, I guess.
  3                       So I can understand, you know,
  4      when people -- when I tell this story and
  5      people listen to me, like that's not that
  6      big of a deal, you didn't complain about it,
  7      but really I didn't complain about it
  8      because I didn't think that I could.                     I
  9      didn't think anyone would believe me and I
10       thought that would be a fool's errand to
11       complain about it, like I probably would
12       have lost my job, and I needed my job.
13                        And also it was like -- like I
14       said, like the twilight zone, different
15       rules that were normalized, that were baked
16       into the environment that made it possible
17       for the Governor and other senior officials
18       in his administration to abuse women in a
19       more nefarious way.
20                        So I sort of went off on a
21       tangent on that one.              I apologize.
22                   Q.   No need to apologize.
23                        So you referred to "rules"
24       several times.         What do you mean when you
25       use the term "rules"?

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  1                               Confidential
  2                  A.       Standards, like mores, if that's
  3      the right term.           You know, different
  4      workplace environments have different
  5      cultures.           You know, some office
  6      environments are really stiff and, you know,
  7      bucks and teats get here at 8 o'clock, talk
  8      about the weather, others are more friendly
  9      and relaxed and more casual.
10                            That workplace environment had
11       its own set of standards and mores that were
12       unique to the administration and you had to
13       learn them and play the game to get along.
14       So they weren't necessarily rules that were
15       written down.           Like the rule to wear high
16       heels wasn't in some handbook that I was
17       given.           It was just murmurs and whispers and
18       observations.
19                   Q.       And that's going to be my next
20       question.           How did you become aware of the
21       rules that applied at the Executive Chamber?
22                   A.       Through conversations with
23       the -- the young folks that were part of
24       that group, the crew, through
25                        , through observing interactions

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  1                              Confidential
  2      between senior staffers and how --
  3      particularly how women interacted with the
  4      Governor.
  5                  Q.      What did you observe about how
  6      women interacted with the Governor?
  7                  A.      Obedience, ebullient, like
  8      smiley and friendly where appropriate,
  9      physically put together when around him, at
10       his beck and call, following him around
11       constantly, anticipating what he wanted,
12       needed before he asked for things, and quick
13       witted.          He liked women that were witty and
14       knew what to say and when to say it, I
15       guess.
16                   Q.      Which women did you see interact
17       with the Governor in the ways that you
18       described?
19                   A.      Melissa DeRosa, Stephanie
20       Benton, his briefers.               You know, I observed
21       Lindsey Boylan with him on a couple of
22       occasions and she fit that bill.
23       too.        You know,                 was older, but she
24       knew how to handle him and make him happy.
25       So those are just a few.

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  1                                  Confidential
  2                  Q.       Did you observe anything in
  3      terms of how the Governor interacted with
  4      men?
  5                  A.       Yes.      It was different.              It was
  6      more tense, loud, volatile, the use of curse
  7      words.           So, yeah, it was markedly different.
  8                           But certainly the women
  9      observed -- observed it, were around it.                              It
10       was not like he was hiding that behavior
11       from senior women in his administration.                              I
12       was just -- and it wasn't just men.                           It was
13       like if you didn't fit the bill of -- you
14       know, I think                   was one of -- I think she
15       was treated the same way as some of the men.
16       And               , I can't remember her last name,
17       she was like                                    .      She was privy
18       to some of that type of vitriol.
19                   Q.       You said privy to it.                  Was she
20       subject to any of it?
21                   A.       I think so.            She kind of
22       traveled in that kind of cohort of people,
23       so I would -- I would have -- and she wasn't
24       there for a long time, so I wouldn't be
25       surprised if she was treated differently

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  1                             Confidential
  2      than some of the other women, but that would
  3      be just speculation.
  4                  Q.    How did the Governor address you
  5      when he spoke to you?
  6                  A.    He called me "sweetheart" or
  7      like "darling."          I don't recall him ever
  8      uttering my name.           I think maybe he called
  9      me Miss Liss like once.
10                   Q.    And what did you think about the
11       way that the Governor addressed you?
12                   A.    It was demeaning, but I also
13       felt that I wasn't worthy of his respect.
14       Like I didn't think, oh, he should be
15       calling me "Ana" and I'm going to go
16       complain.        I thought I was like a nobody
17       anyways, and I thought, well, you should be
18       so fortunate that at least he thinks you're
19       cute enough to kiss you on the cheek and
20       like he wanted to be photographed with you
21       and stuff like that.
22                   Q.    What is the reason he thought
23       you were a nobody?
24                   A.    Because of the types of
25       assignments I was being granted, because I

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  1                             Confidential
  2      was from Rochester and everybody there
  3      seemed to be from like Downstate, and I
  4      remember hearing people making fun of
  5                  accent and people making -- it was
  6      pretty clear to me after entering the
  7      administration that like even though on the
  8      outside it was like let's make upstate
  9      thrive again or whatever, internally it
10       was -- upstate residents were seen as
11       "nobodies," like not a source of power or
12       wealth or not to be taken seriously
13       necessarily, unless you were one of the five
14       billionaires from upstate New York.
15                        So I believed I was -- I got
16       where I was by the hair of my
17       chinny-chin-chin, like I was just a good
18       looking young woman, who just happened to be
19       articulate enough to make it into that
20       Fellowship program and articulate enough
21       like get noticed and get elevated to that
22       office and I better sit tight and shut up
23       and survive so that I could keep my job or
24       else they'll find out that I'm just like
25       middle-class person from Rochester, New

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  1                             Confidential
  2      York.
  3                       And maybe that was my own
  4      preconceived notions, but I certainly picked
  5      up -- you know, the zeitgeist there
  6      was -- you know, you knew who was important
  7      by who was getting meetings with the
  8      Governor and which lobbyists got attention,
  9      and it was all representatives with special
10       interests in Manhattan, real estate, like
11       the Real Estate Board of New York, banks,
12       you know, hospital systems.                        Any way that
13       was connected to money and power,
14       particularly from New York, was getting an
15       audience there.          And so I -- by my own
16       estimations and those observations, I was
17       like, well, don't -- don't let on who you
18       are, Ana, because they don't need you here.
19                   Q.   Did you ever have any
20       discussions with the Governor about the work
21       you were doing at the Chamber?
22                   A.   No.
23                   Q.   Did you have any discussions
24       with the Governor about your professional
25       background?

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  1                              Confidential
  2                  A.   No, never.           It was very clear
  3      that unless he asked you a question, you
  4      weren't to like volunteer information.
  5                  Q.   How was that clear?
  6                  A.   I don't know that it was
  7      expressly communicated to me by anybody
  8      besides               , but, you know, you just
  9      don't walk up to Governor Cuomo and say,
10       hey, how it's going?              You let him come to
11       you, ask you questions and then go on his
12       merry way.       I wasn't about to be like
13       Governor, Governor, do you have a second, I
14       want to talk you about my background and
15       what I'm doing here and I have this idea.
16       That was not a welcome -- that was not a
17       welcome gesture.           I would not have
18       been -- that would not have been greeted
19       with warmth or approval.
20                   Q.   Did you have any views of how
21       the Governor perceived you?
22                   A.   Yes.      I felt that the Governor
23       thought that I was an attractive young blond
24       women who was, you know, sweet.                    That's all
25       that I believed he -- like that was his

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  1                             Confidential
  2      estimation of me.
  3                  Q.    What is the reason you felt that
  4      was the Governor's estimation of you?
  5                  A.    Because our interactions were
  6      more on the grandfatherly flirtatious side
  7      of things, and because he at the 2014 budget
  8      celebration party at the mansion, he came
  9      over to me and gestured, he brought his
10       photographer over, and he put his hand
11       around my waist and kissed me on the cheek
12       and had a photo taken with me.                     And then
13       people, you know, were talking about it the
14       next day, like, oh, I heard about the
15       Governor and the photo.
16                         And I remember like when like
17                        was handing out the photos a
18       couple of days later, everybody wanted to
19       like look at the picture of me and the
20       Governor.        And like that's not something
21       that he would ordinarily do with anybody on
22       my level 'cause I was just like basically
23       checking people's coats at that party, and
24       he came right over to me, and, you know, it
25       was, again, like wherever the Governor goes,

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  1                                  Confidential
  2      that's where all the eyeballs are, and then
  3      all of a sudden the eyeballs were on me and
  4      I felt special and important, but I felt
  5      special and important because the Governor
  6      thought I was food.
  7                  Q.       Do you need a minute?
  8                  A.       Do I need a minute?
  9                  Q.       Yes.
10                   A.       Umm, I'm okay.
11                   Q.       Okay.      Did you have any
12       work-related interactions with the Governor?
13                   A.       No -- well, one very small one.
14       When I -- when Howard Glaser had me at his
15       PowerPoint presentation for the Crain's
16       New York business breakfast in late -- I
17       think it was -- maybe it was early 2014, the
18       Governor wanted to give it final sign-off,
19       and he said something to Stephanie, like I
20       need a copy of this presentation, and then
21       Stephanie said it to                                   and then
22                        said it to me, and then I had to
23       present it off for the Governor and then I
24       had to hand it to him, and I remember
25       handing it to him in his -- like the

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  1                             Confidential
  2      conference room that's attached to his
  3      office, and I remember he said thank you and
  4      he looked me up and down, and I remember I
  5      had a run in my pantyhose and he looked
  6      right at my run in my pantyhose and thought
  7      that that was because -- I thought it was
  8      like, oh, my God, I'm such a slob, I had a
  9      run in my pantyhose and the Governor noticed
10       it.     That was literally the one time.
11                        Other than like staffing mansion
12       parties or staffing events where the
13       Governor was speaking, like the State of the
14       State or whatever and like playing kind of
15       generic roles there.              But the only time I
16       ever directly had a professional interaction
17       with the Governor was like handing him a
18       PowerPoint presentation printout.
19                   Q.   How did he look at you?
20                   A.   Like he was just sizing me up,
21       like up and down.           He was in serious mode,
22       so he wasn't like in flirtatious mode at
23       that moment in time much, I remember.                      He
24       was just looking me up and down.                   I made eye
25       contact, and I remember he looked at the

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  1                              Confidential
  2      little snag, run in my -- I was wearing
  3      black tights and -- and then he looked at
  4      me, and I remember, oh, crap, he looked
  5      at -- he noticed my run in my pantyhose.
  6                  Q.   You used the phrase
  7      "grandfatherly flirtatious" at least a
  8      couple of times.           What do you mean by that?
  9                  A.   I mean by that -- I mean that I
 10      didn't take it as a sexual come-on, but it
 11      was very clear that he thought that I was
 12      cute and attractive and that I would welcome
 13      a smooch on the hand or the cheek or a slip
 14      of the hand around the waist.                      I call it
 15      "grandfatherly" because I didn't look at the
 16      Governor as a sexual being, but I believe,
 17      you know, he saw me as a sexual being.                         And
 18      maybe "grandfatherly" is a way for me to
 19      describe -- like I had creepy, older men
 20      treat me that in other aspects of my life;
 21      like, oh, hello, sweetheart, hi, honey.
 22      It's a generational thing, I guess.                      So
 23      that's why I call it "grandfatherly
 24      flirtation."
 25                  Q.   Let's talk about your

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  1                              Confidential
  2      interactions with the Governor outside the
  3      office.          You've mentioned the budget party.
  4      Did you have any other interactions with the
  5      Governor outside the office?
  6                  A.      Just at those parties.             Not in
  7      any informal setting.
  8                  Q.      Which parties are you referring
  9      to?
 10                  A.      They were -- the budget
 11      celebrations, there was the pinning ceremony
 12      that I participated in, there was a Father's
 13      Day party that took place on his father's
 14      birthday, the year that Mario passed away,
 15      that was at the mansion, there was a Puerto
 16      Rican association in New York State that had
 17      a political party at the mansion that he
 18      attended.          So official soirees like that.
 19      Most of them at the mansion, a couple of
 20      them happening like -- like the Regional
 21      Economic Development Council post reception
 22      happened somewhere near The Egg in Albany,
 23      so --
 24                  Q.      Did you --
 25                  A.      Yeah, sorry.

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  1                              Confidential
  2                  Q.   No, please go ahead.
  3                  A.   No, that was it.                  That was it.
  4                  Q.   Did you ever travel with the
  5      Governor?
  6                  A.   No.
  7                  Q.   Who invited you to the soirees
  8      and events that you just described?
  9                  A.   I don't really know.                  I
 10      just -- somehow my name would land on lists
 11      for specific things, and then I would get an
 12      official e-mail invitation and an RSVP, and
 13      only certain people would get them for
 14      certain parties and functions.                       I think it
 15      was the Governor's advance team and they
 16      received direction from certain people on
 17      the Governor's team, whether Stephanie or
 18      Joe or someone at the time, and they would
 19      say, this person, this person, this person,
 20      this person, and some of them I got invited
 21      to, you know, other fellows weren't there,
 22      some of them I did and like all the fellows
 23      were there.
 24                  Q.   Did you have any understand of
 25      the reasons why you were invited to those

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  1                              Confidential
  2      parties and events?
  3                  A.   No.
  4                  Q.   Setting aside the budget party,
  5      did you ever have any physical contact with
  6      the Governor at these events and soirees?
  7                  A.   Yeah, where -- whenever he would
  8      greet me, he would hug and kiss me.                     And a
  9      couple of instances that was on -- that was
 10      captured in photographs, which I -- my
 11      attorneys shared with you guys.
 12                  Q.   And where would he kiss you?
 13                  A.   On the cheek.
 14                  Q.   Would the Governor say anything
 15      to you at these events and soirees where he
 16      would hug and kiss you on the cheek?
 17                  A.   Just exchange pleasantries, how
 18      are you this evening, you look lovely, stuff
 19      like that.       Nothing of any substance.
 20                  Q.   How did he address you?
 21                  A.   Just "darling" or "sweetheart."
 22      He didn't -- I don't know if he knew or
 23      remembered my name.
 24                  Q.   Turning back to the budget party
 25      before -- when was the budget party that you

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  1                              Confidential
  2      mentioned earlier?
  3                  A.   It was like late March 2014.
  4      The budget had passed on time, I think,
  5      prior to the April 1st deadline, which is
  6      why there was a party.
  7                  Q.   You just said "March."                Is that
  8      correct, was the party in March 2014?
  9                  A.   Yes, I believe so.                The date
 10      stamp on the photo says the date on it.
 11      There's a record of the party.                     It was
 12      called the "Grand Slam" because they had
 13      passed four consecutive on-time budgets and
 14      they were having a party to commemorate that
 15      that budget had passed on time and it was
 16      the fourth.
 17                  Q.   And when did the budget pass?
 18                  A.   Before the April 1st deadline
 19      that year.       I don't know what day
 20      specifically.
 21                  Q.   But the party happened in March?
 22                  A.   I believe so, yeah.                I can -- I
 23      have the photo with me.                 I can look at the
 24      date stamp on the back.
 25                  Q.   Why don't you do that.

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  1                                 Confidential
  2                  A.       Okay.     This is the photo
  3      (indicating).
  4                  Q.       Okay.
  5                           MS. PARK:         Abena, if we have a
  6                  copy of the photo in the binder, can
  7                  we mark it as an exhibit?
  8                           MS. MAINOO:           Yes.
  9                  A.       The date says -- oh, I
 10      apologize.           I'm sorry.          It says May 8, 2014.
 11                  Q.       Okay.     And so this is Tab 7, and
 12      it's also in your electronic exhibits, and
 13      we will mark it as an exhibit and put it up.
 14                  A.       Great.
 15                           (Exhibit 4, photograph, Tab 7,
 16                  marked for identification, as of this
 17                  date.)
 18                  A.       Yeah, so the budget passed on
 19      time that year, and they must -- they had a
 20      party in early May to celebrate that the
 21      budget passed and that it was the fourth
 22      consecutive.
 23                  Q.       Before the May 2014 party, had
 24      you ever taken a picture with the Governor?
 25                  A.       No.

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  1                              Confidential
  2                  Q.    Had you wanted to take a picture
  3      with the Governor before that time?
  4                  A.    I mean, yes, I guess that
  5      would -- I wanted there to be evidence that
  6      I wasn't just saying that I worked for the
  7      Governor's Office.            There's visible evidence
  8      that I worked there.
  9                  Q.    So do you recognize this exhibit
 10      as the photo you took with the Governor at
 11      the May 2014 budget party?
 12                  A.    Um-hum.
 13                  Q.    I think --
 14                  A.    And he has his hand on my waist
 15      too.        You can see lower down, umm --
 16                  Q.    His hand?
 17                  A.    Yeah.
 18                  Q.    Okay.     And you still have this
 19      picture, right?
 20                  A.    Um-hum.
 21                  Q.    What does the picture mean to
 22      you?
 23                  A.    Well, it meant something -- it
 24      meant something else up until like March of
 25      this year, I guess.             It was like evidence

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  1                              Confidential
  2      that I worked for the Governor's Office,
  3      that I didn't just -- I wasn't just there
  4      pushing paper working for someone else, but
  5      that I actually was in his -- that I was
  6      around him and adjacent to him, and I was
  7      proud of that.          But
  8
  9
 10                                              and it was very
 11      much because of my job.
 12                       And it wasn't until some of this
 13      broader dialogue started percolating from
 14      other women about their time working there
 15      and how toxic it was, and I decided to give
 16      oxygen to some of like what I had
 17      experienced, and the picture took on a
 18      different meaning.
 19                       Like when I spoke to the Wall
 20      Street Journal, I wasn't expecting for them
 21      to like want to talk about that or ask about
 22      it, and then all of a sudden it became like
 23      this centerpiece to the story.                     So it's
 24      complicated.         You know, I still have it.
 25      You know, I'm not going to burn it or

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  1                              Confidential
  2      anything, but -- and I don't think that the
  3      Governor was trying to like rape me in that
  4      picture, that he was like grasping a breast
  5      or something.         But he came up to me, he
  6      wanted that picture taken, it got a lot of
  7      attention from senior staff and officials,
  8      and I remember feeling special in that
  9      moment and then subsequent to that moment.
 10                  Q.     What meaning did the picture
 11      take on after March of 2021?
 12                  A.     It became embarrassing, like a
 13      piece of evidence.            I treated it up until
 14      that point like it was almost as important
 15      as one of my diplomas hanging in my office.
 16      I have it sitting next to my certificate of
 17      completion for my Fellowship, the
 18      Rockefeller Institute Fellowship Program,
 19      and then all of a sudden it became like on
 20      Twitter.         All these people were reacting to
 21      it, like, well, if you felt like you were
 22      being abused and targeted by the Governor,
 23      then why do you still have a framed photo of
 24      him in your office?             Which was offensive.              I
 25      also -- you know, it's a reminder that even

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                                                                   Page 108

  1                              Confidential
  2      though that chapter of my life meant a great
  3      deal to me, it was also a really awful time
  4      for me.
  5                       And I'm sure the Governor
  6      doesn't remember taking that picture.                       The
  7      Governor doesn't remember who I am, you
  8      know.
  9                       I don't know, I feel like -- I
 10      feel kind of torn, like I should probably
 11      recycle it or put it in a box somewhere, but
 12      I also am not at a point in my life where
 13      I'm willing to discount the two years I
 14      spent working there because I still ascribe
 15      value to it.         I don't know.                 It's
 16      complicated.
 17                  Q.   And you pointed out that the
 18      Governor's hand was around your waist in
 19      that picture.         What's the reason you pointed
 20      that out?
 21                  A.   A guy that I was dating at the
 22      time, I remember I showed it to him, and was
 23      like, wow, hey, look at this, and he's like
 24      that's crazy what is his hand doing there,
 25      that's weird.         And I was like, oh, yeah.

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                                                                   Page 109

  1                               Confidential
  2      And, you know, that was -- I remember
  3      feeling his hand there on my, you know,
  4      lower waist.           You know, typically an
  5      appropriate gesture would be put your hand
  6      on someone's back.             So it's -- it appears
  7      sexual, I guess, in a way.
  8                        And also when I spoke to Jimmy
  9      at the Wall Street Journal and I showed him
 10      the picture, his eyes went right there too.
 11      And I wish instead of looking right there,
 12      you know, you're like, oh, wow, look how
 13      important Ana is, she's with the Governor,
 14      but it's like it looks a little bit more
 15      familiar than that.              You know, it looks less
 16      professional and more intimate.
 17                  Q.    And you mentioned that
 18      colleagues spoke about the picture
 19      afterwards.        What did they say?
 20                  A.    I remember                        came up to me
 21      the next day,                                  , and was like I
 22      heard about your moment with the Governor
 23      last night, you know, people are talking
 24      about it.        And                 said something like,
 25      oh, we know he likes you, something like

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  1                              Confidential
  2      that.        You know, I can't recall exactly what
  3      people said.         Just that I felt like, you
  4      know, how you -- like something happens that
  5      becomes the subject of some idle gossip and
  6      you're a part of it and then become fodder
  7      for other people's conversations.                    I felt
  8      like I was being talked about by people that
  9      I didn't know.
 10                  Q.    And how did you feel about that?
 11                  A.    Like sort of icky because it
 12      sucked that I was nominally there on this
 13      Fellowship that was supposed to be
 14      recognizing my intellect and my credentials
 15      and I was supposed to be influencing policy
 16      according to this Fellowship program, but
 17      then like in practice, I was eye candy, and
 18      the only significant thing that had happened
 19      thus far while I was there that was worthy
 20      of anyone's attention was that the Governor
 21      thought I was cute and took a picture of me
 22      at the mansion.          I just remember thinking
 23      like ehh.        But I didn't feel icky enough
 24      where I was going to trash the photo.                      I
 25      remember making it my LinkedIn picture at

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                                                                 Page 111

  1                              Confidential
  2      one point because I was proud.
  3                  Q.   Talk about other communications
  4      with the Governor.            Did the Governor ever
  5      yell at you?
  6                  A.   No.
  7                  Q.   Did you the Governor ever curse
  8      at you?
  9                  A.   No.
 10                  Q.   Did the Governor ever comment on
 11      your appearance?
 12                  A.   Yes.
 13                  Q.   What did he say?
 14                  A.   He said that -- that I -- that I
 15      looked lovely, you look lovely today,
 16      something along those lines.
 17                  Q.   Where did that happen?
 18                  A.   In the office, and then, you
 19      know, at the Father's Day party, I think he
 20      said something.          He introduced me to
 21            at the Father's Day party.
 22                  Q.   How did he introduce you?
 23                  A.   I had to kind of intro -- he --
 24      I -- I don't know exactly how, like if he
 25      used my name or what.               But I remember

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  1                               Confidential
  2      telling                 that I worked with
  3                   , and I remember him saying something
  4      like -- because I was wearing a dress, a
  5      pretty dress, and he was like you look
  6      lovely or something like that.
  7                  Q.       And did he say that in front of
  8                       ?
  9                  A.       Yeah, I think so.              Like
 10      you -- or maybe it was like you look nice.
 11      It didn't feel like he was coming on to me
 12      or like it was overtly sexual.                       Like it
 13      didn't feel like it was inappropriate for
 14      him to say it in front of someone that he
 15      was in a romantic relationship with.                        Like
 16      he was talking to me like I was a little
 17      girl almost.
 18                  Q.       And do you remember if you
 19      approached the Governor and                                    or
 20      they approached you or how that interaction
 21      came about?
 22                  A.       He approached me with                      .    I
 23      was positioned -- I was kind of ushering
 24      party attendees from like the cocktail area
 25      over to a tent where folks are supposed to

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  1                               Confidential
  2      be seated for -- there was going to be like
  3      a video that was commemorating Mario Cuomo's
  4      life and his time as Governor, and that was
  5      when the Governor approached, when I was in
  6      that -- I was supposed to -- I was like near
  7      a set a stairs, and I was like, you know,
  8      please, please, this way, this way, have a
  9      seat, you know, one of those types of roles.
 10                  Q.       Did the Governor ever ask you to
 11      sing a song or jingle?
 12                  A.       He -- he didn't ask me,
 13      but -- well, he would sing the song for
 14      Riunite on ice, and I think he asked if I
 15      knew the rest of the words or something, and
 16      I remember looking it up and writing it down
 17      so that if it came up again I would know the
 18      words.           It's like a malt beverage.
 19                  Q.       Other than that, do you ever
 20      remember any instances where you would sing
 21      with the Governor or be invited to sing with
 22      the Governor?
 23                  A.       Besides Riunite on ice, not
 24      really, no.
 25                  Q.       Did you sing that song with the

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  1                                 Confidential
  2      Governor?
  3                  A.      I think I said a few bars, but
  4      that was it, yeah.               I really didn't want to
  5      embarrass myself necessarily.
  6                  Q.      Did you ever hear or hear about
  7      the Governor telling jokes of a sexual
  8      nature?
  9                  A.      Umm.      I have to think about that
 10      for one second.             Umm, jokes of a sexual
 11      nature?          No, I don't know -- I don't have
 12      direct knowledge that he made jokes that
 13      were sexual in nature.                   I just knew
 14      that -- that they were known -- he and the
 15      men that were in his immediate surroundings
 16      and some of the women too, that that was
 17      commonplace, you know, that they would speak
 18      on people's appearances.                     So I wouldn't be
 19      surprised if there was jokes -- there were
 20      jokes being made of a sexual nature.                      I just
 21      didn't hear them directly.
 22                  Q.      Did you ever hear or hear about
 23      the Governor making comments about the size
 24      of his hands?
 25                  A.      No, but I knew he did do that.

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  1                              Confidential
  2      I heard that through -- you know, prior to
  3      the allegations that were made by one of the
  4      other accusers.          I learned something about
  5      that through members of the crew.                    Like he
  6      had made a comment to like one of the
  7      briefers or something that he likes the fact
  8      that he had big hands.                So when I read about
  9      it recently, I wasn't surprised, but I never
 10      heard him speak to that.
 11                  Q.   When did you hear about that
 12      prior to the allegations?
 13                  A.   It would have been in like 2014
 14      or 2015.
 15                  Q.   Did you ever hear or hear about
 16      the Governor talking about sex?
 17                  A.   No.
 18                  Q.   Did the Governor ever
 19      proposition you for sex?
 20                  A.   No.
 21                  Q.   Earlier you had talked about how
 22      you thought your currency was what you
 23      looked like.         Did you adjust your behavior
 24      or do anything based on your thought that
 25      your currency was what you looked like?

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  1                               Confidential
  2                  A.    Yes.
  3                  Q.    What?
  4                  A.    I made myself look more
  5      attractive or such that I felt more
  6      attractive by buying clothes that
  7      were -- you know, dresses that were, you
  8      know, high quality, that were somewhat
  9      revealing, getting my hair done, doing my
 10      makeup, wearing heels.                 Like I purchased a
 11      lot of heels in different colors because I
 12      understood -- I knew it to be a fact that
 13      the Governor had an eye for sartorial, you
 14      know, fashion.           So you just couldn't wear
 15      anything.        You sort of had to be dressed in
 16      a certain way, you know, wearing higher
 17      quality fabrics or designers and stuff like
 18      that.        So I spent more money on my
 19      appearance and my work wardrobe.
 20                  Q.    What was the intent behind doing
 21      those things?
 22                  A.    To remain in -- to be seen as
 23      a -- to be attractive so that I could stay
 24      where I was and continue to succeed in the
 25      workplace environment.                 I guess I -- it was

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  1                              Confidential
  2      my understanding that by being good looking
  3      I could advance in my career there, and I
  4      didn't want to go in the opposite direction
  5      necessarily.         It just felt like the price of
  6      admission.       Like you want to succeed here,
  7      you want to succeed here, you want to thrive
  8      here and survive, you need to look the part.
  9                  Q.   What did you mean when you said
 10      you didn't want to go the opposite way?
 11                  A.   You know, by chopping my hair
 12      off or wearing flats and pants, and -- you
 13      know -- you know, there's some part of me
 14      that, you know, even though it's
 15      uncomfortable to dress up every day, and it
 16      takes time, I felt that it was the price of
 17      admission.
 18                       And it also gave me some
 19      confidence, like people's eyes are on me
 20      because I look good, and when their eyes on
 21      me because I look good, then I will be given
 22      assignments and work to do that is of some
 23      import and I will be placed in -- like
 24      because it worked with -- early on with
 25      Howard and it would continue -- it worked

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  1                              Confidential
  2      getting me invited to parties and getting me
  3      invited to things where I could represent
  4      the Governor's Office in public events, you
  5      know, taking people to their seats at the
  6      State of the State, stuff like that.                       Like I
  7      wasn't passed over for stuff, I was noticed.
  8                  Q.   Was the thinking that looking
  9      good would ultimately lead to more
 10      responsibilities and more substantive work?
 11                  A.   Yeah, that was my calculus in my
 12      head.
 13                  Q.   What was that calculus based on?
 14                  A.   Based on what I saw around me,
 15      women that had risen up through the ranks.
 16      You know, it wasn't because they had some
 17      prestigious law degree or something.                       It was
 18      because they were beautiful.                       They were
 19      beautiful and also had other complimentary
 20      qualities and characteristics that the
 21      Governor found attractive, that quick
 22      wittedness and smarts.
 23                  Q.   Earlier you mentioned you knew a
 24      lot of people who were subject to the
 25      Governor's abuse.           What did you mean by

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  1                              Confidential
  2      that?
  3                  A.     I meant that I knew secondarily
  4      through colleagues that the Governor had a
  5      volatile, angry, short-tempered side to him
  6      and that he would take out his frustrations
  7      and his anger on certain people,
  8      particularly men, and he was known to be in
  9      contact with some of these staff members at
 10      all hours.         He could be verbally abusive, I
 11      believe.         I don't know anybody that had
 12      risen through the ranks that, you know,
 13      thought the Governor was like a nice, kind
 14      man.        Everybody seemed to be afraid of him,
 15      and I was afraid of him too, but he -- I
 16      wasn't subject to that.                 I just observed the
 17      dynamic and I heard about it through the
 18      office grapevine.
 19                  Q.     How did you interpret the
 20      Governor's expectation that certain people
 21      would be available to him at all hours?
 22                  A.     I observed it first and foremost
 23      through                           .                made it
 24      clear that, you know, he slept with his
 25      BlackBerry.         He was always at work.              He made

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  1                              Confidential
  2      references to -- you know, like when I had
  3      these friendly interactions with the
  4      Governor, and I would be like, oh, you know,
  5      yeah, he's so nice or he was so friendly,
  6      like             kind of making comments, like,
  7      yeah, that's what he wants you to think or
  8      something.       I remember hearing his voice
  9      projecting on speakerphone in Howard
 10      Glaser's office, like loud yelling at
 11      people.      So I knew that there was this
 12      predominant side of him that was mean and
 13      angry and mistrusting and calculating.
 14                       And the work of the office was
 15      being done by these trusted people that were
 16      subject to his abuse and his tirades, you
 17      know, in exchange for the knowledge that
 18      like they would get plum jobs afterwards.
 19      You know, like                    got to run Center for
 20      Economic Growth and some people had got some
 21      pretty sweet lobbying gigs and working for
 22      tech companies and big fat salaries because
 23      of their connections working for                                So
 24      -- so you put
 25      up -- put up with the abuse knowing that you

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  1                              Confidential
  2      have a golden ticket.
  3                  Q.   How did you understand that
  4      people would put up with the abuse with the
  5      expectation that they would have this golden
  6      ticket?
  7                  A.   How did I interpret it or --
  8                  Q.   How did you know that?
  9                  A.   Just observations like seeing,
 10      you know, through the time that I was there,
 11      people would leave when the time was right,
 12      when they had like asked permission, been
 13      granted a certain opportunity.                       Like, for
 14      instance, when Howard Glaser left to get a
 15      nice gig, you know, lobbying,
 16      got a similar fat salary doing a
 17      lobbying -- getting a lobbying job because,
 18      you know, they had done their time.                       I
 19      learned through -- like                                   was
 20      very much a loose cannon and would talk shop
 21      all the time in the office about kind of how
 22      things work around here.                  You know, I
 23      learned that                                       story early
 24      on.     I knew that                   had a long game that
 25      he was playing and he wasn't planning on

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  1                              Confidential
  2      killing himself working there his whole
  3      career.          He was like in his late 30s, and
  4      you know, I knew that he was angling for
  5      something and there was a carrot dangling
  6      for him at some point.
  7                          There was a good deal of, you
  8      know, turnover that started happening, you
  9      know, early, middle the second term and has
 10      continued to this day.                And a lot of the
 11      turnover was, you know, people getting
 12      better jobs, leveraging their time there to
 13      get better jobs, and then him replacing him
 14      with other people who could be put through
 15      the meat grinder.             A lot of the people that
 16      I worked with when I was there are no longer
 17      there.
 18                  Q.      Did you know about anyone
 19      getting tech jobs after their time -- doing
 20      their time at the Chamber?
 21                  A.      I think
 22
 23                                                               or
 24      something, and -- yeah, he's
 25                                                  .      He got that

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  1                              Confidential
  2      job through those guys, through that team.
  3              was a big collector of Cuomo people
  4      because like the fight that they had to
  5      engage in to get approval in upstate
  6      New York.        And I know there's -- most of the
  7      people that were there that were high up
  8      when I was there are not really there
  9      anymore.
 10                  Q.    Do you know if the
 11      administration had a hand in these former
 12      Chamber employees' ability to secure
 13      positions after they left the Chamber?
 14                  A.    Oh, yes, yeah.
 15                  Q.    How so, how did the Chamber have
 16      a hand in that?
 17                  A.    They could make calls -- when I
 18      was there, Joe Percoco was very much an
 19      arbiter of that quid pro quo.                      They could
 20      make a call and get you a job if you
 21      were -- if you -- if you had served your
 22      time.        Like Josh Vlasto is one of them, who
 23      was chief of staff to the Governor for a
 24      while, and now he has a fat job in corporate
 25      communications.          Annabel Walsh was like a

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  1                                 Confidential
  2      glorified secretary, and she's in some
  3      health tech gig now.
  4                                               got a job working
  5      for the Governor through his parents.                         He
  6      became like one of the Governor's body men
  7      and he was sort of a gossip collector.                         He
  8      was like -- I remember I learned through
  9      and some other people that                            would
 10      skulk around the Chamber and get gossip on
 11      who's doing what to whom, who's dating whom,
 12      because the Governor liked hearing the
 13      gossip.          And now                 is in the tech
 14      industry.          He's a public affairs job and
 15      it's for a tech company.                     All pretty much
 16      based in New York City.
 17                          And it was -- you know, it was
 18      clear, you stick it out and you can get a
 19      really great parachute six figure job.                         And
 20      I opted to take a different route because I
 21      couldn't -- for my own sanity, I couldn't
 22      stay there anymore.
 23                  Q.      You used the term "quid pro quo"
 24      when you were talking about Joe Percoco
 25      acting as an arbiter.                  What did you mean by

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  1                              Confidential
  2      that?
  3                  A.    Well, it was -- it was an
  4      unspoken rule that you can't just -- you
  5      can't just leave on your own accord, you
  6      have to do your time and whenever they're
  7      done with you, you can -- at what time like
  8      that you feel comfort -- like you feel that
  9      you've done your time, you could have a
 10      conversation and see what they could do for
 11      you.
 12                        And the first that I learned of
 13      that dynamic was through the
 14                       situation, and I just remember
 15      hearing through the grapevine like, you
 16      know, if you wanted to get out and go do X,
 17      Y or Z, you got to go talk to him.
 18                        And I don't know who replaced
 19      him in the chain of command after he was
 20      like arrested and everything, but -- that
 21      was just -- it was common knowledge that
 22      that was -- that was rule.                    You put up with
 23      it and then they will find -- they will find
 24      a place for you when the time is right.
 25                        And that happened with

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  1                                 Confidential
  2            , that happened with, you know,
  3              and with many of the briefers.                             You
  4      know, they go through two years of really
  5      grueling work and they might get like a
  6      nice, plush gig somewhere.
  7                  Q.      Did you know if any of those
  8      former Chamber employees maintained their
  9      ties or relationships to the Chamber after
 10      they left?
 11                  A.      Oh, yeah, definitely.                   Like I
 12      k n o w , f o r i n s t a n c e , Sr. Staffer #3 , s h e b o r e
 13      witness to things that no one will ever find
 14      out about that very much probably were
 15      illegal and she'll never talk about it
 16      because she has a great job and she got that
 17      job through the Governor's Office.                            And I
 18      know through -- I know through -- because
 19
 20      he divulged to me that
 21
 22      involving the Governor.                     And I know that
 23      she's been pursued by the news media and she
 24      won't speak out.               And that's just one
 25      example.         But, you know, a lot of these

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  1                              Confidential
  2      people they just have great jobs and they're
  3      going to lose their job or they might lose
  4      their job if they speak out against the
  5      Governor.
  6                       I didn't think -- early on I
  7      thought I was doing the right thing and like
  8      I was speaking truth to power and speaking
  9      out in support of other women that made a
 10      brave decision, and then I started even in
 11      my job to pay a professional price.                       Like
 12      I'm no longer invited to functions in the
 13      Rochester area that involve the Governor's
 14      Office, even though my job is very much
 15      pertinent to that.
 16                       Like Monroe County has
 17      incentivized projects that also received
 18      economic incentives from the State, and
 19      there have been a couple of occasions with
 20      like ribbon cuttings or tours or whatnot,
 21      after March of this year where I spoke out,
 22      where I would have ordinarily been invited,
 23      and I have not been invited.                       I'm not --
 24      I've not been directly communicated with by
 25                              or anybody in the Governor's

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  1                              Confidential
  2      Office or anybody at Empire State
  3      Development.         And it's my understanding
  4      having worked in the Governor's Office, like
  5      they do -- they do ice people out.                     There
  6      are people that the Governor refuses to -
  7      not only himself to be in the same room with
  8      or be adjacent to at all, but like anybody
  9      that is anywhere adjacent to him.                    So if
 10      like Kathy Hochul comes to Rochester, I
 11      won't get invited now.
 12                       So if I'm paying a professional
 13      price, you know, not having gotten my job
 14      through the Governor's Office, I can imagine
 15      that there are individuals that have these
 16      great jobs that they got through the second
 17      floor connections, you know, and they're
 18      worried if they were to say something, they
 19      would lose their job or pay other prices.
 20                       There was a time in the last
 21      couple of months where I thought I might
 22      have to move to another state.
 23                  Q.   What is the reason you might
 24      have to move to another state?
 25                  A.   Because the Governor remained so

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  1                              Confidential
  2      powerful here and he's not -- he's gone so
  3      far as to not only just hang onto his
  4      position and, you know, not walk away, but
  5      he's completely denied that any of this
  6      stuff has happened, and I wouldn't be
  7      surprised if like none of this amounts to
  8      anything, and there are no term limits on
  9      his office, and, you know, he could remain
 10      in power for a very long time.
 11                        And I intentionally got into an
 12      economic development career.                       Economic
 13      development is very tied in with local and
 14      state government and with politics.                       My job
 15      right now that I have is somewhat political
 16      in nature, and it could all go to shit
 17      if -- pardon my French, if, you know, he
 18      continues to remain powerful and rise up in
 19      positions of power.              And, you know, I
 20      just -- I'm scared.
 21                        So I've started recently trying
 22      to -- I'm pursuing a professional
 23      certification in economic development just
 24      in case like I do have to get a job
 25      somewhere else someday, like a credential

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  1                              Confidential
  2      that can get me a job anywhere in the
  3      country in Economic Development and I'm not
  4      just beholden to my professional connections
  5      in New York State because that could go
  6      away, poof.
  7                       So all that being said, as
  8      someone not coming out that the Governor
  9      grabbed my breast or propositioned me for
 10      sex, as someone who is not in a job that I
 11      got through the second floor, I myself am
 12      experiencing what I have determined to be
 13      some professional consequences, so I can
 14      only imagine what somebody like someone like
 15      an                    or an     Senior Staffer #3    or a
 16            , what they would be subject to, like
 17      what consequences they would be subject to
 18      if they were to say anything.
 19                       But they were all part of the
 20      problem, I think, so I don't know that any
 21      of them would ever feel like they had to say
 22      anything.       They all witnessed things that
 23      were certainly problematic, but they were
 24      all part of the problem in propagating that
 25      environment, the bullying and the ad

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  1                               Confidential
  2      hominem, the packs and stuff like that.
  3                  Q.       Are there other ways in which
  4      you have paid a professional price for
  5      speaking out in addition to what you've
  6      described?
  7                  A.       Well, you know, if you Google my
  8      name now, it's inevitably all about Andrew
  9      Cuomo now, and people have been, you know,
 10      looking at my LinkedIn profile from all
 11      corners of the earth.                So I think
 12      reputationally (sic) it has been
 13      problematic.           I suppose that's an indirect
 14      consequence.           And just harassment on social
 15      media.           People calling me a liar, that I'm
 16      looking for attention and that I'm -- I'm
 17      doing this to raise my own profile or
 18      whatever.           And I view those as negative.
 19      Whether they're true or not, there are folks
 20      in the world that will believe those claims
 21      to be true, and -- but, you know, I sort
 22      of -- I knew going into this whole
 23      experience that that might be an outcome.
 24                           But by and large the
 25      professional price that I paid is before

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  1                              Confidential
  2      March of this year I was asked to attend
  3      ribbon cutting ceremonies and facility tours
  4      and groundbreaking ceremonies and meetings
  5      having to do with the Governor's Office and
  6      Empire State Development, and now I'm being
  7      iced out.        And I've been keeping some record
  8      of some of that just knowing when certain
  9      things are happening.
 10                        Like, for instance, the most
 11      recent Executive Committee session of the
 12      Finger Lakes Regional Economic Development
 13      Council, like I'm part of that group, but I
 14      was asked not to appear on camera or like
 15      not be part of the Zoom, but just like watch
 16      it like I was a webinar attendee.                       And I was
 17      informed by                                        office that
 18      they were asking a few other people to do
 19      that.        But I was like but why me, though.
 20      It just felt like I'm being -- it feels like
 21      I'm being singled out.
 22                  Q.    Is that who asked you to
 23      participate by webinar,
 24      office?
 25                  A.    Yes, it was

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  1                              Confidential
  2                  .   And I remember almost drafting an
  3      e-mail like asking him why have you selected
  4      me to be one of these people, can you
  5      explain.         And I almost like in a fit of
  6      paranoia I was going to ask him is it
  7      because the thing with the Governor, but I
  8      didn't.
  9                         And then, you know, there was
 10      another event where the State has given a
 11      bunch of money to the Rochester area for a
 12      riverfront revitalization initiative that
 13      involves one of our museums and some hotels,
 14      and a good chunk of the project my team
 15      helped support through some tax incentives,
 16      and they had this big, exciting
 17      ribbon-cutting ceremony, and everybody
 18      involved in the economic development
 19      community was there, and Kathy Hochul went
 20      and spoke, and I was not invited.
 21                         And Kathy Hochul came to town
 22      and did a tour at Bausch & Lomb's
 23      manufacturing facility, another project that
 24      we were involved in involving our
 25      Congressman Joe Morelle, who's very plugged

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  1                                Confidential
  2      in still with Andrew Cuomo's Office, and I
  3      was not included.
  4                         And I haven't said anything to
  5      my boss.         You know, I'm still scared that if
  6      I continue to make noise, it will just make
  7      it worse.
  8                  Q.     What is the reason you're scared
  9      that if you keep making noise, it will keep
 10      getting worse?
 11                  A.     Because the people in positions
 12      of power here in this region are still by
 13      and large very much connected to the power
 14      structure that Andrew Cuomo has created.                        So
 15      when he became Governor, you know, Joe
 16      Morelle, who is very powerful here, rose to
 17      prominence in the Assembly and became the
 18      Assembly speaker, and members of Joe
 19      Morelle's staff were elevated and hired to
 20      work for Andrew Cuomo, one of them being
 21                            ,                              was one of
 22      them, and then my boss, Adam Bello, who is
 23      our County Executive, he was an acolyte of
 24      Joe Morelle and thus connected to that whole
 25      house of cards.

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  1                              Confidential
  2                       And it's like the bread crumb
  3      trail always leads back to him, and Andrew
  4      Cuomo is known as like a kingmaker, and I
  5      knew that I did the right thing by speaking
  6      out and telling the truth about what was a
  7      very dangerous place for me to work at the
  8      time and what was problematic, and I felt
  9      that the evidence that I was -- the story
 10      that I was sharing, which is true, provided
 11      some evidence to bolster the cases that were
 12      being shared by other women.
 13                       You know, I wouldn't go back and
 14      not do that.         I wanted to fall on that side
 15      of history, but in hindsight I didn't -- I
 16      guess I expected in the wake of like ME2 and
 17      everything, I expected there to be more
 18      solidarity with the power structure.                      You
 19      know, there were people that out of one side
 20      of their mouth they called on the Governor
 21      to resign, and on the other side of the
 22      mouth they were still meeting with him and
 23      supporting his agenda.                So I guess I'm still
 24      afraid, but again, I wouldn't have done
 25      anything differently.

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  1                                     Confidential
  2                     Q.       Earlier when you were talking
  3      about people being in the Chamber and got
  4      plush -- plum positions, you mentioned
  5      Senior Staffer #3        , and you said
  6      d i v u l g e d s o m e t h i n g t o y o u a b o u t a n d Sr. Staffer #3
  7                          What did                         divulge to you?
  8                     A.              told me that there was a
  9      time he picked her up.                       So           was part of,
 10      like I said, the younger crew.                             And so there
 11      was a party at the Executive Mansion that I
 12      think he staffed from like an operational
 13      standpoint, and she was also there, and
 14      left at the appointed time when like most
 15      people were leaving, but then there were
 16      other people -- like I learned from
 17      there were pool parties that like the higher
 18      l e v e l s t a f f , t h e p e o p l e l i k e Sr. Staffer #3 o r l i k e
 19      Sr. Staffer #1 ,     you know, they got to stick around
 20      and late night and they got to crash at the
 21      mansion on occasion.
 22                              And          told me that there was
 23      at least one occasion where he had to pick
 24      her up from the Chamber -- or from the
 25      Executive Mansion in the wee hours, at like

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  1                              Confidential
  2      2 a.m. or something, and that
  3
  4                                                  and I remember
  5      being like, oh, my God, that's appalling,
  6      you know, why don't more people know about
  7      that crap.          I don't think
  8                                          but I don't have any
  9      reason to believe that                      made that up.
 10                  Q.      When did            tell you about
 11      that?
 12                  A.      He told me like last year.
 13      We've stayed in touch.                He works in
 14      for like -- I think he works in the
 15                          , but he's originally from
 16                       , so we'll get together every few
 17      months, you know, for a drink or something,
 18      and I remember him telling me that story and
 19      being like, oh, my God.
 20                  Q.      Did he tell you that story
 21      before or after the public allegations
 22      started coming out?
 23                  A.      It was after -- I think it was
 24      around like the holidays because it was
 25      after Lindsey first posted like a Tweet,

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  1                                 Confidential
  2      Lindsey Boylan, and we were all sort of
  3      talking about, oh, my God, what is she
  4      talking about, what is she referring to.
  5      And then there were murmurs in like the
  6      community of alumni of, oh, did you hear
  7      about this, did you hear about that or did
  8      you hear about this, and that was one of the
  9      the "oh, yeah, there were pool parties."
 10                          And I wasn't part of -- there
 11      was like a cast system almost, and I wasn't
 12      in that upper echelon of like staffers that
 13      would have been invited, like come party at
 14      the mansion until 2 o'clock in the morning.
 15      I was in a lower level.
 16                  Q.      Did           say anything about what
 17      h e t h o u g h t h a p p e n e d w i t h Sr. Staffer #3 t h a t n i g h t ?
 18                  A.      He thinks that she got -- he
 19      said that she was like angry at him and like
 20      she wouldn't answer questions or something
 21      and that that was -- maybe that was one of
 22                                                                              ,
 23
 24                                                                .
 25                  Q.      So --

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  1                                  Confidential
  2                  A.       But based on what has been
  3      divulged from young women publicly
  4      who -- based on my experience working there,
  5      we're working in the same environment, in
  6      the same office where                 Senior Staffer #3    was, I
  7      wouldn't be surprised if there were
  8      similar -- there was a similar scenario.
  9      She looked like those women.
 10                           When I was there and she was
 11      there, I remember learning through
 12      that like she was like being groomed to be
 13      the next Stephanie Benton or something, and
 14      so she was in that office that was right
 15      attached to the Governor's office.                                  She
 16      traveled with the Governor.                               She was with
 17      him all the time.
 18                  Q.       To be clear,                         said he picked
 19      Sr. Staffer #3   up from the mansion and not from any
 20      other location?
 21                  A.       Yes.
 22                  Q.       When you were in the Chamber,
 23      did you hear or hear about the Governor
 24      threatening anyone?
 25                  A.       Threatening anyone?                      Umm, well,

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  1                              Confidential
  2      yeah, I mean, I remember him -- I remember
  3      learning through senior staff that he
  4      threatened the mayor of Syracuse at the
  5      time, Stephanie Miner, like he was going to
  6      withhold infrastructure dollars or something
  7      because she was political, you know, she had
  8      been calling him out, and that was very much
  9      a threat.
 10                       And then I just -- I can speak
 11      in general terms to the fact that like
 12      favors were traded back and forth based on,
 13      I don't know, like -- threats were
 14      commonplace in that environment, and the
 15      Governor could determine a municipality's
 16      fortunes or an individual politician's
 17      fortunes on a whim, but I wasn't -- I never
 18      was in a room with him and he was directly
 19      threatening someone or something.                    I can
 20      only speak to that.
 21                       It was a very public thing that
 22      ultimately ended up unfolding with the City
 23      of Syracuse, but I remember hearing about it
 24      and learning about it and being privy to
 25      some of it before it became very public.

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  1                               Confidential
  2                  Q.       Other than what you've talked
  3      about, were you aware when you were at the
  4      Chamber of any incidents of harassment,
  5      bullying or other hostile or aggressive
  6      behavior by the Governor?
  7                  A.       Well, okay, so I know about in
  8      the case of                                    that he behaved
  9      hostile towards him and did threaten bodily
 10      harm to               when he like put the football
 11      in his face, and the question was, you
 12      know -- can you repeat the question again,
 13      was I aware of any hostile behavior?
 14                  Q.       Yes, it's says incidents of
 15      harassment, bullying or other hostile or
 16      aggressive behavior.
 17                  A.       Yeah, yes.        Towards
 18                       in particular and towards members of
 19      the legislature.
 20                  Q.       And what behavior are you aware
 21      of?
 22                  A.       Yelling and name calling,
 23      withholding support, like withholding of
 24      certain gestures, but again, I wasn't in the
 25      room with him when he was like throwing

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  1                              Confidential
  2      names or barbs at anybody or anything in
  3      particular.
  4                  Q.      Earlier when you were describing
  5      the reasons you spoke up, you said the
  6      Chamber was a dangerous place for you.                          What
  7      did you mean by that?
  8                  A.      I was a woman in my 20s who
  9      didn't have family connections in the Albany
 10      area or, you know, a network of friends.                            I
 11      was really -- I moved there for the job
 12      opportunity, and I -- so I felt like I
 13      was -- I was somewhat vulnerable.                          I was,
 14      you know, early/mid-career and naive and I
 15      was -- I survived by -- I just have to think
 16      about my response for a second.                          It was very
 17      clear to me that being a young woman, being
 18      an attractive young woman there meant two
 19      things:          It meant that I was a target for
 20      unwanted communication and gestures and
 21      attention and that I could also hitch my
 22      fortunes to being an attractive woman and
 23      get a better job out of it.                        Any
 24      professional attention that I got there was
 25      really I could assign it to what I looked

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  1                              Confidential
  2
  3
  4                       And I had some of the fellows
  5      too, but it really -- it's hard to explain.
  6      I didn't really -- I wasn't really
  7      socializing with them as much.
  8                  Q.   Is there a reason you were not
  9      socializing with the fellows as much?
 10                  A.   Well, I think once I got pushed
 11      over to that other side of the second floor,
 12      I was made to feel as though I was like
 13      running in a different circle, and I noticed
 14      that they all started hanging out, weren't
 15      telling me when they were having
 16      get-togethers, and then I felt like they
 17      didn't really want to hang out with me,
 18      maybe because they thought that I thought
 19      that I was better than them or something.
 20      It was one of those weird social
 21      machinations, I guess, but I wished -- I
 22      wished that I would have viewed them as more
 23      of like a support network.
 24                  Q.   Earlier you said the easiest way
 25      to survive, you were describing another

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  1                              Confidential
  2      survival mechanism, was not to get in
  3      trouble, to look nice, be nice and do what I
  4      was told.        What did you mean by that?
  5                  A.    The only way you would get in
  6      trouble and that your professional situation
  7      might be under threat is if you attract
  8      negative attention to yourself.                     You attract
  9      negative attention to yourself there by
 10      screwing up or by being a slob, and so by
 11      being docile, doing what I was told, not
 12      speaking out of turn, not speaking unless
 13      spoken to and also looking the part, the
 14      only attention that I might attract to
 15      myself is, oh, she's a nice, attractive
 16      young lady and I wasn't going to get slammed
 17      or screamed at or punished.
 18                  Q.    You weren't going to get slammed
 19      or screamed at or punished by who?
 20                  A.    By -- well, at the time Joe
 21      Percoco was like the punisher.                     I wasn't at
 22      the level where the Governor himself might
 23      have words with me that were punitive in
 24      nature, but I just knew just working there
 25      that like it wasn't that hard to screw up.

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  1                              Confidential
  2                       You might be seen out and about
  3      consorting with some staffer from some
  4      legislator's office or you might -- it
  5      might -- the Governor might catch wind that
  6      you're talking about something that he
  7      doesn't want you to talk about or, you know,
  8      and I just didn't want to be -- I didn't
  9      want to have any sort of target on my back.
 10                  Q.   When you worked in the Executive
 11      Chamber and you had the interactions that
 12      you described with the Governor, including
 13      where he would call you sweetheart or kiss
 14      you on the cheeks or kiss your hand, did you
 15      have any views at the time whether the
 16      Governor's conduct was appropriate?
 17                  A.   I knew and I believed that it
 18      was technically not appropriate for a
 19      workplace environment; however, I also knew
 20      that we were working in a political
 21      environment where certain rules just didn't
 22      apply and I knew that --
 23                       I remember telling people at
 24      home that, you know, wow, I didn't realize
 25      that in order to like effectively govern the

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  1                              Confidential
  2      State of New York, you have to like skirt
  3      the law all the time, you have to make sure
  4      that certain things aren't in writing and
  5      ignore certain bureaucratic processes and
  6      push things through just to govern the State
  7      of New York, and just in the way that you
  8      sort of have to skirt the law to govern, you
  9      skirt the law to be a politician of his ilk.
 10                        Like even though on the face of
 11      it, sexual harassment is illegal, like you
 12      saw how the Governor reacted to the claims
 13      in recent months and weeks.                        He laughed it
 14      off, and I know that is how senior members
 15      of the administration would have treated it
 16      too.        You know, granted, this was pre-Harvey
 17      Weinstein and everything, but, you know,
 18      like that's why even the whole
 19      stuff, I'm like, ugh, what a creepy, gross
 20      old man, but I never thought to report it.
 21                  Q.    And just so I understand, what's
 22      the connection you're drawing between not
 23      thinking to report the                                   stuff and
 24      the Governor's conduct?
 25                  A.    Just that even though I knew

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                                                                 Page 155

  1                               Confidential
  2      that it's not appropriate and it's
  3      tantamount to harassment that the Governor
  4      asked me if I have a boyfriend, that
  5                       asked me about my love life, that
  6      the Governor kisses me on the cheek, that
  7                           kisses me on the cheek, the
  8      culture and standards at the time
  9      were like I would have been seen like sort
 10      of a Gloria -- or like an Uber-feminist to
 11      speak up even in 2014, 2015.
 12                  Q.       When is the first time that
 13      you -- sorry, I missed --
 14                  A.       Oh, sorry, I just -- like I
 15      would have been laughed at.
 16                  Q.       When is the first time you spoke
 17      with anyone about how the Governor
 18      interacted with you during your time in the
 19      Executive Chamber?
 20                  A.       I spoke to my family at home,
 21      not -- like probably the day that he first
 22      interacted with me in his office, just
 23      saying like that, wow, the Governor he came
 24      right up to me, and I remember telling them
 25      about how he behaved at that party, but I

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  1                              Confidential
  2      didn't characterize it like the Governor
  3      finds me sexually attractive.                      It was just
  4      like the Governor is kind of like flirty and
  5      whatever, you know.             He's a -- he's an old
  6      Italian man from New York City, da, da, da.
  7                  Q.      When is the first time you
  8      characterized the Governor's conduct towards
  9      you during your time in the Executive
 10      Chamber in a different way?
 11                  A.      Like in negative way?
 12                  Q.      In a negative way or differently
 13      from how you characterized it previously.
 14                  A.      A few months into the
 15      experience, as I started to feel more and
 16      more like it was grating to work there, and
 17      like I remember not long after                             told
 18      me about the high heels rule, thinking like
 19      that's so bizarre and that's so backwards,
 20      and I remember telling -- I think it was
 21      like at Christmas that year when I was home
 22      telling some of my cousins about it and
 23      people in my family.              Like my                         ,
 24                       are kind of like old-school
 25      feminists from like the '70s, and I remember

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  1                              Confidential
  2      telling them about it, and they were like,
  3      oh, my God, and that was sort of -- but I
  4      remember like saying it as, though, yeah,
  5      it's super screwed up and it's so backwards,
  6      but that's just how the guy is and that's
  7      how things are and whatever, whatever.
  8                       And then so later on this past
  9      year, when I went public, I recall, you
 10      know, several of those members of my family,
 11      people in my friend network reached out and
 12      were like, wow, Ana, I remember you telling
 13      me about that, I remember you telling me
 14      about that, and that was validating to me
 15      like, yeah, I wasn't -- it wasn't like I was
 16      just blind thinking like this is all
 17      hunky-dory.        I was open about the fact that
 18      it was not appropriate.
 19                  Q.   Did any of the family members or
 20      friends in your network, who said they
 21      remembered you telling them about your
 22      experiences, did any of that happen by text,
 23      e-mail or otherwise in writing?
 24                  A.   No, not that -- not that I have
 25      record of.       I probably have like G-Chats

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                                                                 Page 158

  1                              Confidential
  2      with                        about certain things.               I
  3      remember like G-Chatting with him in my
  4      office, but he would put those chats on
  5      private or whatever.              There was some
  6      security setting.           But those stories that I
  7      would share with my family and friends were
  8      all like verbal interaction.
  9                  Q.   What about later this year when
 10      they said I remember you telling me about
 11      it, did that all happen orally?
 12                  A.   Oh, well, I remember my
 13                           posted it on my Facebook
 14      account, so I do have that record.                     I posted
 15      a link to Rebecca Traister's piece that she
 16      had written in New York Magazine that
 17      included some of my account just because I
 18      felt she did a good job of capturing really
 19      what I was trying to convey, and she plugged
 20      that into the broader culture using other
 21      people's stories.           So I felt like it was an
 22      appropriate thing for me to share with my
 23      friend network.          And, yeah, my
 24      posted, wow, that's crazy, I remember you
 25      telling us about that.

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  1                              Confidential
  2                  Q.    Based on your experiences from
  3      your time working in the Executive Chamber,
  4      how do you see the Governor as a man?
  5                  A.    I see the Governor as cowardly,
  6      megalomaniac and a narcissist.
  7                       and that's helped me kind of
  8      articulate some of that.                  Like I see
  9      narcissistic tendencies in his behavior.                         He
 10      believes that rules that apply to the
 11      broader populus don't apply to him.                     I go
 12      back to like the way that they were so quick
 13      to decry                        and say                      ,
 14      you better resign, and then the Governor is
 15      accused of doing just the same stuff, and
 16      he's standing his ground.                   And so I see him
 17      as a disingenuous, narcissist, an abuser,
 18      abuse of power and abuse of vulnerable young
 19      women's bodies.
 20                  Q.    Based on your experiences, how
 21      do you think the Governor views women in the
 22      workplace?
 23                  A.    I think he views all people in
 24      the workplace as a means to an end.                     I think
 25      he views women in the workplace as both a

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  1                              Confidential
  2      means to an end and a pool from which to
  3      enjoy eye candy and entertain some of his
  4      sexual proclivities and fantasies, much the
  5      way you see it depicted in popular culture,
  6      hire beautiful women to flank you all over
  7      the place and you're constantly surrounded
  8      with beautiful things to look at and women
  9      to flirt with, especially when you're the
 10      most powerful person in the room and the
 11      most powerful person in the office.                     Nobody
 12      can say boo about it.               You could be the
 13      Hunchback of Notre Dame, but they're going
 14      to talk to you.
 15                  Q.   When you worked in the Executive
 16      Chamber, did you see or hear about the
 17      Governor touching anybody else?
 18                  A.   Not when I worked there.                 I just
 19      knew that the same way that he behaved with
 20      me, he behaved with many other women.                      So I
 21      knew that he was touching and flirtatious,
 22      but I didn't know that -- I couldn't have
 23      imagined at the time that the Governor might
 24      overtly sexually abuse a woman's body or
 25      proposition a woman.

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  1                               Confidential
  2                  Q.   Did you hear about that kind of
  3      conduct after you left the Executive Chamber
  4      and separate from the public allegations?
  5                  A.   I heard about -- this past year
  6      after I spoke up, Lindsey Boylan divulged
  7      some things to me that I did not know to be
  8      true at the time, but she divulged that the
  9      Governor was -- had                                         with
 10      female staffers, including, she named,
 11      Sr. Staffer #1       ,   Senior Staffer #3   and        .
 12                       And I remember thinking that
 13      that was so disgusting and I couldn't even
 14      imagine, because when I was there, he was
 15      still dating                                 and in public they
 16      were kind of physically affectionate towards
 17      one other, and I guess I just thought that
 18      even though he likes to flirt with young
 19      women, he wasn't having sex with people that
 20      worked for him.
 21                       So it was through a secondary
 22      source and it was after the public
 23      allegations came out, but it was like
 24      something that Lindsey said to me that I
 25      don't think she said to any public, like,

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  1                              Confidential
  2      media outlet and what not.
  3                  Q.   Did Lindsey tell you what her
  4      source was?
  5                  A.   She said -- yeah, I would have
  6      to look through my text messages, but she
  7      observed some of it and I think she knew
  8      through her own network.                  She didn't tell me
  9      any names like so and so told me that this
 10      happened.
 11                  Q.   Did you ever see anyone sitting
 12      in the Governor's lap?
 13                  A.   No.
 14                  Q.   Have you ever heard about
 15      someone sitting in the Governor's lap?
 16                  A.   Yes.
 17                  Q.   What did you hear?
 18                  A.   I think there were -- there were
 19      allusions to it in some of the public
 20      allegations that came out this year.
 21                  Q.   Other than what's in the public
 22      allegations, did you hear about anyone
 23      sitting in the Governor's lap?
 24                  A.   No.     I don't think I can answer
 25      that question with any -- like I don't

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  1                                   Confidential
  2      remember anything specifically about that.
  3                     Q.    Did you ever hear anything about
  4      Senior Staffer #3        sitting in the Governor's lap?
  5                     A.    No.      I just heard about the pool
  6      p a r t i e s a n d Sr. Staffer #3
  7      and then, you know, Lindsey's claim that
  8                                                   with the Governor.
  9                     Q.    Did you ever see or hear about
 10      the Governor hiring a woman after meeting
 11      her at an event?
 12                     A.    Yes.
 13                     Q.    What did you see or hear about?
 14                     A.    I saw and heard about it from
 15      the public allegations in the media.
 16                     Q.    But other than what's in the
 17      public allegations, you didn't hear about
 18      the Governor hiring a woman after meeting
 19      her at an event?
 20                     A.    No.
 21                     Q.    When you were in the Executive
 22      Chamber, did you hear any rumors about the
 23      Governor having
 24                             with any members of the staff?
 25                     A.    I remember hearing through the

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  1                                 Confidential
  2      rumor mill that like he had
  3      Senior Staffer #2                                     , but I didn't
  4      take it seriously because I thought --
  5      again, I was probably naive, but I thought
  6      he was in a happy relationship with
  7             and I thought that like people were just
  8      making things up.
  9                  Q.      When you were in the Chamber,
 10      did you hear anybody say that the Governor
 11      made her or him uncomfortable?
 12                  A.      Yes.
 13                  Q.      Who did you hear say that?
 14                  A.                               ,                 .    I
 15      never -- women didn't really talk about it.
 16      I can only speak to like men talking, you
 17      know,                          too, about like, oh, God,
 18      he's in rare form today.                     And like -- like
 19      not like, oh, the Governor touched me and it
 20      made me uncomfortable.                   It was more just
 21      like, oh, God, just had the worst meeting, I
 22      got berated for 45 minutes, stuff like that.
 23                          MS. MAINOO:            Before we move to
 24                  the next topic, I will just pause and
 25                  find out if Ms. Kennedy Park has any

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  1                               Confidential
  2                  questions.
  3                        MS. PARK:          I apologize,
  4                  Ms. Liss, if I'm going to ask this and
  5                  I missed it, but on any occasion when
  6                  the Governor touched you, did he ask
  7                  permission to touch you?
  8                        THE WITNESS:             No.
  9                        MS. PARK:          On any occasion in
 10                  which you witnessed him touch someone
 11                  else, who was a staff member in the
 12                  Executive Chamber, did you hear him
 13                  ask permission to touch them?
 14                        THE WITNESS:             No.
 15                        MS. PARK:          Is there a difference
 16                  in the way that you saw him touch
 17                  women in the Chamber versus men in the
 18                  Chamber?
 19                        THE WITNESS:             Yes.
 20                        MS. PARK:          What's the
 21                  difference?
 22                        THE WITNESS:             He didn't touch
 23                  men in the Chamber, and he was gruff
 24                  and kind of aggressive with men, and
 25                  he was flirtatious and -- flirtatious

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  1                               Confidential
  2                  and silly, I guess, with women.                He
  3                  would always just -- he was very much
  4                  like an alpha male, I suppose, in his
  5                  interactions.        It seemed like --
  6                        MS. PARK:          Did the Governor --
  7                  apologies.      Go ahead, Ms. Liss.
  8                        THE WITNESS:             I was going to
  9                  say, it seemed like for the most part
 10                  the men who worked for him that were
 11                  doing a lot of like the heavy lifting
 12                  there really hated working there and
 13                  really hated working for him, and a
 14                  lot of the women, they weren't subject
 15                  to the same sort of verbal abuse.                   It
 16                  was just a different type of -- it was
 17                  like -- they was sexualized and that
 18                  wasn't pleasant, but at least they
 19                  weren't getting verbally harassed
 20                  and -- but I know that wasn't true for
 21                  every -- every woman.
 22                        MS. PARK:          If the Governor had
 23                  asked your permission to kiss you,
 24                  what would you have said?
 25                        THE WITNESS:             Probably, sure.           I

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  1                              Confidential
  2                  mean, he's the Governor.
  3                        MS. PARK:         Why is that; why
  4                  would you say "sure"?
  5                        THE WITNESS:            Because -- well,
  6                  first of all, I wouldn't view it as
  7                  like -- I mean, if he asked to kiss me
  8                  on the lips or something, no way, but
  9                  I wouldn't have viewed it as a
 10                  violation of my personal space, but
 11                  also he's the Governor and I'm not
 12                  going say no to the Governor.
 13                        MS. PARK:         And why don't you say
 14                  no to the Governor?
 15                        THE WITNESS:            You don't say no
 16                  to that Governor because you might
 17                  black -- get blackballed.               With
 18                  Governor Cuomo, if you're asked to do
 19                  something and then you fail at that
 20                  task, you might never get asked to do
 21                  anything ever again.              You might get
 22                  reassigned somewhere else.
 23                        MS. PARK:         Is that what you mean
 24                  by "blackballed"?
 25                        THE WITNESS:            Um-hum.

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  1                              Confidential
  2                        MS. PARK:          That's all I have.
  3                        MS. MAINOO:            Thank you.
  4      BY MS. MAINOO:
  5                  Q.    Miss Liss, did you ever observe
  6      anyone say no to the Governor during your
  7      time at the Executive Chamber?
  8                  A.    No.
  9                  Q.    Did you ever hear about anyone
 10      saying no to the Governor?
 11                  A.    Only political adversaries.
 12                  Q.    Are there examples that come to
 13      mind?
 14                  A.    Well, his fight with De Blasio
 15      about, you know, the New York City schools
 16      and issues on that level, but there was no
 17      tasks big or small that you would say no to
 18      that the Governor asked you to do no matter
 19      how important or unimportant you were.
 20                  Q.    What's the reason for that?
 21                  A.    Because he's the most powerful
 22      person in that environment.                        If you say no,
 23      then you risk losing your job or being
 24      reassigned.
 25                        I guess to more accurately

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  1                              Confidential
  2      answer your first question, specifically I
  3      don't have an example, but I believe that
  4      Howard Glaser said no to the Governor and
  5      disagreed with the Governor on a couple of
  6      important matters and they thus had some
  7      sort of a falling out, which is what
  8      pressed -- which is what led to Howard
  9      leaving to go work elsewhere in 2014 -- in
 10      2015 after the Governor was reelected, and I
 11      remember seeing that as sort of, wow, that
 12      was brave on Howard's part.                        I think they
 13      disagreed on certain higher level political
 14      or policy matters and had somewhat of a
 15      professional falling out.                   They went in
 16      different directions.
 17                  Q.   What did you know about the
 18      falling out?
 19                  A.   I just remember observing the
 20      frequency with which they met dissipating
 21      significantly in the months leading up to
 22      his election and then immediately thereafter
 23      the re-election and the second term, and I
 24      remember hearing through the grapevine just
 25      that like they're not getting along, Howard

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  1                              Confidential
  2      wants out or something.
  3                       I remember also thinking
  4      selfishly what does that mean for me if
  5      Howard is leaving, and of course, that meant
  6      Jim Malatras came and I had to start to make
  7      some moves.
  8                  Q.   Did you have a sense of whether
  9      Howard's attitude toward the Governor
 10      changed or the Governor's attitude toward
 11      Howard changed or both after Howard
 12      disagreed with the Governor?
 13                  A.   I think -- I think it was both,
 14      but I observed more so Howard's dynamic,
 15      that like he didn't take the Governor as
 16      seriously and that he was pretty fed up
 17      with the circumstances, which was
 18      demoralizing for me too because I was like
 19      I'm here every day, I work for you, you hate
 20      your job, what does that mean for me, where
 21      am I going to go.
 22                       I took Howard to be, you know, a
 23      bit of an intellectual, and I don't know
 24      what specifically was driving his
 25      frustrations, but it's probably a lot of

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                                                                 Page 171

  1                              Confidential
  2      things.          He had been with the Governor since
  3      the Governor was HUD secretary.
  4                  Q.      You referred several times to
  5      the culture in the Executive Chamber.                      How
  6      would you describe it from the time when you
  7      worked there?
  8                  A.      Cutthroat, hostile, hyper image
  9      focused and -- you know, it was all about
 10      like power and connections.
 11                  Q.      In what way was it all about
 12      power and connections?
 13                  A.      How many people you knew and
 14      what types of people they were and
 15      how -- you know, like for instance, Melissa
 16      DeRosa's                                                  , and
 17      there were folks that were related to high
 18      level officials in New York City, are
 19      connected to powerful wealthy families, and
 20      there was a lot of, like, oh, don't you know
 21      who his or her dad is or his or her uncle
 22      and, oh, so and so got their job because
 23      of -- they're related to this person or they
 24      know this person, which exacerbated some of
 25      my own insecurities about, like, I'm not

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  1                              Confidential
  2      really related to anybody and I don't really
  3      know anybody.         So there was that.                 And, you
  4      know, you don't get an audience with the
  5      Governor unless you have something to offer
  6      him.
  7                  Q.   What was the work environment
  8      like in the Chamber?
  9                  A.   It was chaotic and it was
 10      depressing and it was all consuming.
 11                  Q.   How was it chaotic?
 12                  A.   There was just no -- nothing was
 13      really systematic, like your job was
 14      different on any given day.                        There was no
 15      consistency.         It was always just like
 16      putting out fires, being part of a crew that
 17      was putting out fires.                In that Rebecca
 18      Traister piece, somebody described it as
 19      like policy-making paint by numbers, and I
 20      thought that kind of nailed it.                        It was like
 21      we were just figuring out as we went along
 22      day to day what the matters -- like what
 23      were the priorities on any given day.
 24                  Q.   What did you think were the
 25      reasons for that?

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                                                                 Page 173

  1                              Confidential
  2                  A.   Hanging onto power.               You know,
  3      survival was everything, and there was a lot
  4      of energy paid to snuffing threats, a lot
  5      of -- the communications team was really the
  6      most important team anywhere, and their
  7      whole focus -- like they ran like a newsroom
  8      that was constantly turning out press
  9      releases, announcements, announcements,
 10      announcements, and then planting negative
 11      words and narratives about enemies of the
 12      Governor.
 13                       When I began to learn that it
 14      was all about PR and communications and less
 15      so about policy making, I remember feeling a
 16      little alarmed by that, but then also like,
 17      well, I suppose it's not that much of a
 18      surprise because that's just how things are
 19      nowadays, I guess.            And I used to work in
 20      the journalism world, and I understand the
 21      importance of press announcements and stuff
 22      like that.
 23                  Q.   How did you learn it was all
 24      about PR and communications?
 25                  A.   Well, I really -- I really

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                                                                 Page 174

  1                              Confidential
  2      figured it out or got a heavy does of it
  3      when I was given that early assignment to
  4      put the Regional Economic Development
  5      Council videos together, and what I learned
  6      was like he watched like 30 seconds of my
  7      Long Island video, and we had done an
  8      interview with somebody who -- there was
  9      like a fishery project that got some
 10      financing through the State, like a
 11      restoration of a fishery, and the Governor
 12      watched, and he was like I don't know who
 13      the fuck these people are.                    And then he made
 14      us redo the whole thing to be like bigger,
 15      splashier, sexier, and we reproduced all of
 16      them to focus on projects, many projects
 17      that didn't even have anything to do the
 18      Regional Economic Development Councils.
 19                       And that was my first
 20      realization that it was a dog and pony show
 21      or it was like the Wizard of Oz hip, like
 22      don't pay attention to the man behind the
 23      curtain, like watch the flashy show, and I
 24      felt a little foolish from that.
 25                       I also learned in my Fellowship

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                                                                 Page 175

  1                              Confidential
  2      orientation                                 was invited to
  3      come --
  4                                            were invited to come
  5      and speak to the fellows.                   And         had
  6      worked for                                         , I think
  7      it's Channel 6.          A lot of the communication
  8      shops -- like Channel 6 was almost like a
  9      feeder to that crew.              And he told us that
 10      the Governor's Office treats -- like the
 11      communications team is a news organization
 12      and they have newsroom meetings every
 13      morning and they're constantly -- you know,
 14      they're constantly monitoring the news
 15      cycle, and the Governor is constantly
 16      getting these press clippings sent to his
 17      BlackBerry, and that's like everything that
 18      he pays attention to.               So I learned really
 19      early on it was the most important thing.
 20                  Q.   How did people -- how did staff
 21      treat each other in the Chamber?
 22                  A.   It was a sort of mixed bag.
 23      There was hostility and mistrust,
 24      particularly like young women, I think.                        And
 25      then there was anger and yelling, and then

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                                                                   Page 176

  1                              Confidential
  2      there was some camaraderie.                        There was some
  3      Stockholm syndrome.             You know, I think like
  4      particularly that group of young people,
  5      that crew, they took some solace in each
  6      other, drinking.
  7                  Q.    You referred to hostility and
  8      mistrust particularly with young women.
  9      What did -- can you elaborate on that?
 10                  A.    Yeah, I just remember like mean
 11      girl culture and being looked at sideways
 12      and treated with sort of like -- especially
 13      people like Melissa, Melissa always
 14      definitely treated me like that, like you
 15      felt kind of like nothing.                    Just disrespect.
 16      Women at that level looked down upon women
 17      that were at a lower level and didn't treat
 18      them like -- really like human beings.
 19                  Q.    And other than Melissa, who are
 20      the other women at the higher level that you
 21      just referred to?
 22                  A.    Stephanie Benton was definitely
 23      one of them, and Jill DesRosiers was one as
 24      well.        She was quieter.           I didn't really get
 25      a read on her really much, but that was

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  1                              Confidential
  2      definitely like a trifecta.
  3                  Q.    What was Melissa DeRosa's
  4      position at the time?
  5                  A.    She was director of
  6      communications or she was in whatever role
  7      she was just prior to being director of
  8      communications.           It wasn't long
  9      after -- like she had come from
 10      Schneiderman's office to go work there, and
 11      she certainly like wasn't secretary to the
 12      Governor or anything like that.                    She was
 13      working in the communications shop.
 14                  Q.    Do you remember where she sat?
 15                  A.    Yeah, she was in the
 16      communications office, which was -- like if
 17      I was here (indicating), the Governor's
 18      Office was like this suite(indicating) and
 19      then the communication -- then like the red
 20      room was there (indicating) and then like
 21      around the corner from the red room was the
 22      communications office.                 It was all attached
 23      by an internal corridor that went through
 24      each office so you didn't have to go out in
 25      the main hallway.

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                                                                 Page 178

  1                              Confidential
  2                  Q.    And you referred to "mean girl
  3      culture" just now.            What did you mean by
  4      that?
  5                  A.    Like -- I mean, it's one of
  6      those things Melissa DeRosa didn't have to
  7      look at me square in the eye and say, well,
  8      I think you're a stupid little bitch, you
  9      know.        People can make you feel like you're
 10      nothing and nobody just by not acknowledging
 11      your presence and never knowing your name or
 12      looking and glancing your direction, and
 13      that's how it was.
 14                        Like I saw her and Stephanie
 15      almost every day when they were in the
 16      office, and I don't think either one of them
 17      ever uttered my name or glanced in my
 18      direction.        I was certainly on e-mails with
 19      them a bunch, but -- and I learned obviously
 20      later on that was true across the board.
 21      They were made to feel they were the chosen
 22      ones, that they were really important, they
 23      were the Governor's main women, and then we
 24      were all seen as sort of like wannabees, I
 25      guess, but they didn't really know that I

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                                                                 Page 179

  1                               Confidential
  2      didn't want to be them.
  3                  Q.       What's the reason you didn't
  4      want to be them?
  5                  A.       Because I wanted to go home and
  6      just have a regular job and not have to -- I
  7      didn't want my whole professional -- I
  8      didn't want to feel defined by this man and
  9      his legacy and his administration.                     I was
 10      like -- I learned in a few short months that
 11      it was a pretty meaningless existence, and I
 12      realized that I could probably do more good
 13      in my career by getting out of there and
 14      working at the -- in a lower level somewhere
 15      else.
 16                  Q.       You mentioned I think at the
 17      beginning of our interview that Cuomo
 18      acolytes use terms like "loser" and "zero."
 19      How did they use those terms and who did you
 20      mean by "Cuomo acolytes"?
 21                  A.       Well, I just remember -- so
 22                       is someone who has been around that
 23      world since his campaign for his first term
 24      and had ingratiated himself to Howard, and
 25      Howard was really tight to the Governor for

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  1                              Confidential
  2      a really long time, and I picked up on their
  3      language really quickly, and they
  4      were --                         was -- like I said, he
  5      had kind of loose lips, and he would talk
  6      about, oh, this person, he's fucking zero,
  7      he's a loser, and I guess I took some of his
  8      language -- and I remember hearing Howard
  9      using the same language,                           picking it up
 10      from Howard, and I learned like maybe this
 11      is like the dictionary according to the
 12      Cuomo administration.               I remember
 13      talking about women like they're smoke shows
 14      and she's a 10.
 15                  Q.   What is a "smoke show"?
 16                  A.   I didn't know what it was then,
 17      up until that point, but like a hot women, a
 18      beautiful woman, a smoke show.
 19                       And            and Howard would smoke
 20      cigars in Howard's office, and I remember
 21      thinking smoke cigar, it's illegal to smoke
 22      inside the State office building, so
 23      whatever, and using those kind of
 24      language -- that kind of language, and I
 25      took that to mean that this is like

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  1                                Confidential
  2      Cuomo-ese, I guess, "smoke shows" and
  3      "zeros" and "losers" and "fuckups" and stuff
  4      like that.
  5                  Q.      Were you ever privy to the
  6      Governor's use of that type of language?
  7                  A.      No.    I did hear him use the
  8      F-bomb.          Like "what the fuck is this," you
  9      know, stuff like that, but never -- I don't
 10      think I ever heard him call someone a name
 11      outright, but I didn't -- there were very,
 12      very few occasions when I might have been in
 13      that vicinity where I might pick up on
 14      something like that.                I could tell that
 15      there was some isolation that took place.
 16      Like when the Governor is ready to have one
 17      of those types of conversations, the doors
 18      are closed and there is only certain people
 19      in the room, so...
 20                  Q.      And who were the people who
 21      would be in the room under those
 22      circumstances?
 23                  A.                            ; Jim Malatras;
 24                            , depending on the subject;
 25      Joe Percoco;                                , when he was

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  1                              Confidential
  2      alive; Larry Schwartz; Stephanie; Melissa;
  3      Josh Vlasto, when he was there;                                 ,
  4      when he was there; like those guys, like the
  5      inner --                      ; the inner circle, the
  6      circle of trust, so to speak, I guess.
  7                  Q.   How much overlap did you have
  8      with Josh Vlasto?
  9                  A.   Very small amount.                He left not
 10      long after I came onboard.                    I remember
 11      seeing him come through a bunch of times and
 12      then he disappeared, and now he's working, I
 13      think, at one of those blue chip, whether
 14      it's a tech company or something.                      He's in
 15      the private sector.
 16                  Q.   What position did he hold when
 17      you overlapped?
 18                  A.   He was chief of staff, I
 19      believe.
 20                  Q.   Did you observe how he
 21      interacted with people in the Executive
 22      Chamber?
 23                  A.   Yeah, he was                      .   Sorry.
 24      He was just a jerk.
 25                  Q.   How so?

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                                                                  Page 183

  1                              Confidential
  2                  A.   In the same manner that like
  3      Melissa --
  4
  5
  6                         .
  7                  Q.
  8
  9                  A.   Yeah, he saw me -- I think he
 10      and I interacted like in passing on a couple
 11      of occasions, one being the regional council
 12      award ceremony that first year, and then,
 13      you know, when he observed me in Howard
 14      Glaser's office and kind of glanced --
 15                                                           .
 16                  Q.   Earlier you referred to people
 17      breathing down my neck and monitoring your
 18      every move after you moved over to Howard
 19      Glaser's office.           Who was breathing down
 20      your neck and monitoring your moves?
 21                  A.   I guess I should amend that
 22      statement because I felt like I was in a
 23      fish bowl and that people were looking at me
 24      constantly and like they knew I was there,
 25      but the people weren't really monitoring

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  1                                 Confidential
  2      what I was working on.                   It was just
  3      what -- that I was there, that I was sitting
  4      at my computer, what I was wearing.                          I felt
  5      like I was being -- you can feel watched and
  6      you don't necessarily feel like -- like it's
  7      not like they were monitoring my attendance
  8      and what time I got there and when did I
  9      leave.           It was I felt like I was on display.
 10                  Q.       Were there any individual people
 11      who made you feel like you were on display?
 12                  A.       No.    I guess I don't really know
 13      how to answer that question.                          Just, you
 14      know, there were a lot of the same people
 15      that came in and out of that office that
 16      were very important people, whether they
 17      were going to meet with the Governor or with
 18      Howard, and when they would come into that
 19      room, you know, they would observe
 20      who's -- who is around, and I felt observed
 21      or seen by those people, and there was some
 22      pressure associated with that, I guess.
 23                  Q.       You referred several times to
 24
 25

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  1                               Confidential
  2                   .   Can you speak more generally as to
  3      how your time in the Chamber affected you?
  4                  A.     Yes, yes,
  5
  6
  7
  8                           .
  9
 10                   .
 11
 12
 13
 14
 15
 16
 17                                .
 18
 19
 20                                                 .
 21
 22
 23
 24
 25

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  1                              Confidential
  2                                                                        .
  3
  4                                                         .




                                                                and it
 10      was sort of like that because even though I
 11      hated it, I was very fiercely protected of,
 12      well, I work for Governor and it's very
 13      important and I have this very important job
 14      and, no, mom, I'm not going to quit my job
 15      and move home,




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  1                              Confidential
  2                  Q.   How long was the Fellowship
  3      slated to be?
  4                  A.   Two years.
  5                  Q.   When was it supposed to end?
  6                  A.   The summer of 2015.
  7                  Q.   When did you start looking for
  8      your next job after the Chamber?
  9                  A.   The spring of 2015.
 10                  Q.   What led to your decision to
 11      look for a new job?
 12                  A.   Escapism.          I wanted to just get
 13      out and I wanted -- I found it really
 14      appealing like any job that has structure
 15      and is not political.               I was sort of lusting
 16      after the idea that like I could maybe
 17      leverage the experience as a golden ticket,
 18      so to speak, and get a job somewhere that
 19      was more normal, but I couldn't do so in the
 20      traditional way that others were doing
 21      because I didn't have -- I couldn't say
 22      like, oh, use the Governor as a reference,
 23      like that wasn't -- I couldn't tell anybody
 24      that I was looking for a job.
 25                  Q.   What's the reason you couldn't

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  1                               Confidential
  2      tell anybody that you were looking for a
  3      job?
  4                  A.       Because, again, that
                             example that -- it was common
  6      knowledge that, you know, you stick it out,
  7      you stick around until a member of the
  8      administration identifies an opportunity for
  9      you or something opens up within the circle
 10      of influence that's tied to the State, and
 11      that just wasn't going to happen for me.                        I
 12      couldn't really envision it.
 13                  Q.       Did you ever speak with anyone
 14      about opportunities for a position as a
 15      deputy secretary for Economic Development or
 16      other work in leadership within --
 17                  A.       Yeah, I -- I thought that that
 18      might be in the cards for me, but
 19                       sort of laughed it off the couple of
 20      times that I brought it up because he had
 21      been looked over for the deputy secretary
 22      position.           He had been functioning for a few
 23      years being paid as an assistant secretary
 24      functioning as the deputy secretary and the
 25      assistant secretary, and I was informed

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  1                              Confidential
  2      that, like, the Governor was looking for a
  3      name, you know, some splashy sort of a brand
  4      name, like person to appoint, and as long as
  5                   was in the assistant deputy role,
  6      that wasn't in the cards.
  7                         So I thought maybe a job at
  8      Empire State Development, and I talked to a
  9      woman named                                        there, I can't
 10      remember her title, but I had helped worked
 11      on the Global New York policy language, and
 12      I thought -- I worked, I collaborated at ESD
 13      on that.         I thought could there be a
 14      position with Global New York, and they
 15      didn't really have anything.
 16                         And she was like, well, what do
 17      you think about moving into New York City.
 18      I don't think I -- I'll think about it, but
 19      nothing materialized.               There were just a lot
 20      of fits and starts.
 21                  Q.     Looking back, how do you assess
 22      your time in the Executive Chamber?
 23                  A.     Survival and really an expensive
 24      lesson, expensive lessons learned about my
 25      personal and professional tenacity and about

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  1                               Confidential
  2      how the State of New York is governed and
  3      how politics functions in the State of New
  4      York.
  5                  Q.       What are those expensive lessons
  6      that you learned?
  7                  A.       I learned that I'm not cut from
  8      the kind of aggressive fabric that -- like
  9      I'm not the type of person that wants to cut
 10      other people down, I don't have like a
 11      fiercely competitive spirit, and so I don't
 12      believe that I could be successful rising
 13      through the ranks of a political operation,
 14      like what Andrew Cuomo operates as Governor,
 15      and I learned that -- like I said earlier,
 16      it seems like the only way to govern the
 17      State of New York in such a way that people
 18      think you're actually doing your job and
 19      getting things done is to break the law and
 20      find shortcuts around legal processes, find
 21      shortcuts around legislative processes.
 22                           And, you know, it was an
 23      expensive lesson learned because it was two
 24      years of my life.            I didn't really save any
 25      money.           You know, I learned a lot of lessons

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  1                              Confidential
  2      and I made some solid, good-lasting
  3      connections, but not -- not necessarily what
  4      I thought was going to come out of it in
  5      terms of my network and in terms of my
  6      professional work experiences.
  7                  Q.    You referred a couple of times
  8      to legality or breaking the law.                    Did you
  9      observe or hear about the Governor or anyone
 10      in the Executive Chamber breaking the law
 11      during your time in the Chamber?
 12                  A.    Well, yeah.           I mean, I knew and
 13      was privy to what -- you know, that
 14                         calling                         and
 15      complaining that                    wasn't being paid
 16      enough money, and so then                                 got
 17                  another job and got him more money,
 18      and that was one of the things that ended up
 19      landing           in jail, and I remember like
 20      knowing about it and understanding that it
 21      was problematic.
 22                        And I remember learning about
 23      the Governor not putting anything in
 24      writing, not even a text message, and
 25      understanding there is a reason for that

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  1                              Confidential
  2      because there is no paper trail for certain
  3      conversations and certain things.
  4                       Yeah, like just witnessing
  5      nepotism and favoritism, knowing that it's
  6      not legal, knowing also people were -- there
  7      was a lot of blending between personal and
  8      professional life and drinking on the job
  9      and stuff like that, and I knew that that
 10      wasn't legal, but certainly --
 11                       I don't know if I can give you a
 12      specific example, but I know from working
 13      there that the whole goal was to push
 14      through the Governor's agenda, avoiding at
 15      all costs any influence on the part of
 16      members of the State legislature.                    It had to
 17      be his budget, his policies, and a lot of
 18      that involved wheeling and dealing, I think,
 19      outside of the law.
 20                  Q.   In what way was there
 21      blending -- let me start again.
 22                       In what ways was there blending
 23      between the personal and professional in the
 24      Chamber?
 25                  A.   Well, like I told you, you know,

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  1                               Confidential
  2      that crew of young friends and
  3      everybody -- everybody there, it seemed like
  4      their whole entire social life was their
  5      work colleagues and it was like a cult or a
  6      religion.           When you weren't there, you were
  7      drinking with the people that you worked
  8      with.        The parties at the Executive Mansion
  9      and the after parties, you know, those were
 10      all colleagues drinking together, and it
 11      was -- it was that type of a place where it
 12      was just 24/7 grind.
 13                  Q.       Any things that you're proud of
 14      during your time working in the Chamber?
 15                  A.       Yes, yup.       I'm --
 16                  Q.       What?
 17                  A.       I'm proud that I wordsmithed and
 18      helped to develop a lot of the language that
 19      was used in the 2014 and 2015 State of the
 20      State policy books.
 21                           I advocated for the New York
 22      State Council on the Arts, and I got him a
 23      $5 million budget increase one of those
 24      years.           It was their first in a very long
 25      time.        And I participated in budget

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  1                               Confidential
  2      negotiations with the legislature for the
  3      Council on the Arts.
  4                           And I was proud of the network
  5      that I cultivated and some of the
  6      educational skills that I was able to
  7      develop on the road, working through the
  8      Regional Economic Development Council
  9      process.
 10                           MS. MAINOO:         Before we move to
 11                  the next topic, I will pause to give
 12                  Ms. Kennedy Park a chance to ask any
 13                  additional questions.
 14                           MS. PARK:       I don't have any
 15                  questions on that topic.                   Thank you,
 16                  Abena.
 17                           THE VIDEOGRAPHER:                We're now
 18                  going off the record.                   The time is
 19                  6:07.
 20                           (Recess.)
 21                           THE VIDEOGRAPHER:                We are now
 22                  going back on.         The time is now 6:20.
 23      BY MS. MAINOO:
 24                  Q.       Ms. Liss, I want to just go back
 25      to the May 2014 budget party.                         Can you

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  1                              Confidential
  2      describe any physical contact that you had
  3      with the Governor then?
  4                  A.   Yes, he came over to me and
  5      embraced me and kissed me on the cheek, and
  6      when he gestured to the photographer to take
  7      our photos, he slipped -- he slipped his
  8      hand around my waist.
  9                  Q.   So since leaving the Executive
 10      Chamber in 2015 and before going public with
 11      your allegations against the Governor, have
 12      you said anything publicly about the
 13      Governor?
 14                  A.   No.     I mean -- well, yes, I've
 15      posted social media, like on Twitter, you
 16      know, reTweeting or saying, you know,
 17      complimentary things like, wow, great job,
 18      Governor, things like that.
 19                  Q.   What kind of things have you
 20      said complimentary things about the Governor
 21      regarding?
 22                  A.   Like about some policy things,
 23      like, oh -- like how he handled COVID, you
 24      know, when he was really popular during the
 25      COVID briefings and everybody was watching

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  1                               Confidential
  2      him.        I think I publicly commended him and I
  3      had wished him -- I remember posting
  4      something about it -- happy birthday.
  5                        Because, you know, it's
  6      important -- I want to clarify that to me up
  7      until very recently the Governor was
  8      infallible, just -- even though I felt like
  9      I -- I felt awful working there, I never
 10      could have foreseen the Governor ever
 11      being -- ever having a public fall from
 12      grace, just knowing how he func -- how he
 13      operates his office.               He's just -- you can't
 14      bring the man down.              So it's more out of
 15      survival and in order to maintain your
 16      dignity, you stay in his good graces;
 17      otherwise, you become a nobody.
 18                  Q.    Even after --
 19                  A.    Sorry.
 20                  Q.    Even after you had left the
 21      Executive Chamber, was that the way you
 22      felt?
 23                  A.    Yes.
 24                  Q.    What's the reason for that,
 25      given that you no longer worked for the

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  1                              Confidential
  2      Governor?
  3                  A.    Well, I believed that even
  4      though it was a personal and professional
  5      failure that I couldn't survive there and
  6      stick around there, and I didn't want to, I
  7      didn't feel that I had what it took.                      I
  8      needed to maintain a public semblance that
  9      it was a valuable and honorable use of my
 10      time, and I maintained bragging rights that
 11      I worked there, I survived there, I have
 12      this photograph, look at me.
 13                        It was more beneficial for me to
 14      couch it that it was a valuable experience
 15      than for me to say, oh, yeah, that was a
 16      massive waste of my time, that guy is a
 17      total dick.        Publicly at least.              Privately I
 18      would be honest with people that it was a
 19      total waste of my time and
 20                  but publicly I have a job that still
 21      kind of -- the stuff that I do now is
 22      germane to stuff that I did then, so...
 23                  Q.    What do you mean when you say
 24      stuff you do now is germane to what you did
 25      then?

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  1                              Confidential
  2                  A.    I still work in economic
  3      development and I work for a unit of local
  4      government in the State of New York.                      In
  5      fact, my boss was one of the men that was
  6      one of the county executives that was
  7      directly called by Larry Schwartz.
  8                        In light of the vaccine
  9      distribution, you may know that there
 10      was -- that Larry was calling around to
 11      county executives and engaging their
 12      loyalty, you know, perhaps in exchange for
 13      vaccines, and I know that Adam Bello was one
 14      of those county executives.
 15                  Q.    How did you feel about the
 16      statements that you made that were
 17      complimentary about the Governor?
 18                  A.    Like I never deleted them or
 19      anything.        I just -- I suppose I was being
 20      like a public sycophant, I guess, in a way.
 21      I'm not going to be somebody who goes on
 22      Twitter and says the Governor
 23      at least at that point in time.
 24                  Q.    What did you think OF how the
 25      Governor seemed to be managing COVID?

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  1                              Confidential
  2                  A.   It was very much the way he
  3      managed everything else.                  He loves a crisis.
  4      You know, when I was there, I -- I wasn't
  5      part of a crew that managed Superstorm
  6      Sandy, but I was part of a crew that worked
  7      through -- there was a huge snowstorm in
  8      Buffalo, a deadly snowstorm, just awful, and
  9      I was part of the crew that set up the --
 10      you know, there was like a command center
 11      and they set up like a call center for folks
 12      to call in emergencies and the Governor did
 13      daily briefings.
 14                       I remember noticing that he was
 15      managing through COVID or governing through
 16      COVID the same way he does through other
 17      emergencies.         He used them as opportunities
 18      because all eyes, all attention is focused
 19      on the emergency, and so then he becomes a
 20      savior.
 21                       And I knew that these daily
 22      briefings about statistics weren't in and of
 23      themselves acts of governing, but they were
 24      perhaps promoting a sense of calm and
 25      consistency during a certain point in time,

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  1                              Confidential
  2      and it was again governing by PR versus
  3      actually doing something.
  4                       And, of course, I knew that
  5      somewhere along the way behind the scenes
  6      stuff is not right and there are inequities
  7      and certainly special treatment is being
  8      doled out to certain people as it always is,
  9      so I wasn't surprised when, of course, we
 10      learned about nursing homes and we learned
 11      about members of the family and high-level
 12      staffers getting access to testing and
 13      vaccines and stuff like that.
 14                       And I knew too with the book
 15      situation, when I was there, he was on the
 16      tail end of writing his last book, which was
 17      kind of a flop, and he had members of the
 18      staff working on that, like his
 19      communications team especially.                    I remember
 20      him being followed around by like a
 21      ghostwriter.         And so when that whole thing
 22      came out, I wasn't surprised, of course, he
 23      had people on his staff working on the book.
 24                       He's obsessed with his own
 25      public persona and public profile and his

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                                                                 Page 202

  1                              Confidential
  2      polling numbers and his media, how much time
  3      is being dedicated to him in the news, and
  4      it was true back then, it was even more so
  5      true these last several months, so none of
  6      it was surprising to me.
  7                  Q.   Given your current position, did
  8      you feel free to post Tweets that were
  9      critical of the Governor before March 2021?
 10                  A.   No.     In fact, prior to joining
 11      the administration and getting that
 12      Fellowship, when I was still in Rochester, I
 13      was involved with a local organization, the
 14      Monroe County Young Democrats, and I helped
 15      them with their e-mail newsletters and with
 16      their social media and I helped set up a
 17      Twitter account.
 18                       And I remember one year like
 19      Tweeting, live Tweeting the Governor's State
 20      of the State, and I can't recall what I
 21      posted that was critical, but something in
 22      regards to young people and, you know, our
 23      policy that -- that the young democrats have
 24      taken a stance, I don't recall what it was,
 25      but I remember the next day I was at the gym

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                                                                 Page 203

  1                              Confidential
  2      and I got a phone call from one my fellow
  3      volunteers that he had gotten a phone call
  4      from the Governor's regional director at the
  5      time telling us to take the Tweet down.
  6                       And I remember thinking we are
  7      just these little peon young democrats of
  8      Monroe County, I think we maybe have like 50
  9      Twitter followers, and the Governor himself
 10      apparently, or somebody is paying attention
 11      to what we were Tweeting, and I remember
 12      from that point forward knowing you don't go
 13      public with anything critical of the
 14      Governor if you ever want to be in his good
 15      graces or be on the receiving end of his
 16      powers as Governor.
 17                       So I knew when I spoke out in
 18      March that that was it.
 19                  Q.   Have you had any contact with
 20      current or former members of -- well, let's
 21      start again.
 22                       Have you had any contact with
 23      current members of the executive Chamber
 24      since Lindsey Boylan's allegations became
 25      public in December 2020?

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  1                               Confidential
  2                  A.    Yes.
  3                  Q.    Who?
  4                  A.    Rich Azzopardi called me on my
  5      cell phone in December, not longer after
  6      Lindsey posted that Tweet, and I remember
  7      thinking like why is Rich Azzopardi calling
  8      me, and I thought maybe it had to do with my
  9      job and, oh, neat, the Governor's Office is
 10      calling me.        And then he sounded sort of
 11      nervous and asked me if Lindsey -- if I had
 12      been in touch with Lindsey Boylan, if she
 13      had tried to contact me and if I had spoken
 14      with her at all, and I said no.                     And then he
 15      said, you know, can you just let -- reach
 16      out, let me know if she does try to contact
 17      you.
 18                        And then I remember thinking
 19      like how many other people is he reaching
 20      out to, why is he reaching out to me, you
 21      know.        What would -- what would he or
 22      someone else have observed that would have
 23      made them think to contact Ana who hasn't
 24      worked there since 2015.
 25                  Q.    Did you have any thoughts about

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  1                              Confidential
  2      why Rich or anyone else would have thought
  3      to contact you?
  4                  A.    Yeah, I thought it was because
  5      maybe they saw the Governor flirted with me
  6      on occasion and they thought that I might be
  7      somebody who would feel emboldened to speak
  8      up, and maybe they thought Lindsey is going
  9      to try to -- maybe Lindsey is going to
 10      cultivate a network of other women who had
 11      similar experiences, and they want to
 12      neutralize that threat because that's what
 13      they do, that's their MO.
 14                        It certainly wasn't like -- he
 15      wasn't trying to reach out and say, oh, you
 16      know, we're trying to collect women who used
 17      to work here who have good things to say
 18      about the Governor, because I remember that
 19      was out there, that was a narrative, like
 20      that they were trying to -- and maybe they
 21      were.        I just -- that was not the nature or
 22      the tone and tenor of the call.                    It was like
 23      he was trying to figure out has Lindsey
 24      contacted me, have I spoken to Lindsey, and
 25      I thought that was weird because, you know,

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  1                              Confidential
  2      I felt like a lot of what I had experienced
  3      was kind of invisible there.                       You know, I
  4      wasn't -- it wasn't like I was special, like
  5      I was the only person that was special that
  6      was being kissed on the cheek, and
  7      I didn't -- when I looked back on the
  8      experience, I didn't characterize the whole
  9      thing like that was two years of me being
 10      sexually harassed by the Governor, that
 11      wasn't it.       I didn't think that that was a
 12      defining thing, so it felt strange that Rich
 13      would have observed something or somebody
 14      else would have and said to him to call me.
 15                       And that -- I remember because I
 16      was with                      at the time, we were on
 17                         , and it was like that's weird
 18      the Governor's office just called me and
 19      they asked me if -- I remember he thought it
 20      was weird.
 21                  Q.   When was it -- when did Rich
 22      call you?
 23                  A.   In December 2020.                  So I got
 24
 25                                                , and then it was

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  1                                 Confidential
  2      like Monday the 21st, I think, in the
  3      morning.
  4                  Q.       Did Rich call you on your cell
  5      phone?
  6                  A.       Uh-hum.
  7                  Q.       Had Rich ever called you before?
  8                  A.       No.
  9                  Q.       Did you ever speak with Rich
 10      after that?
 11                  A.       No.
 12                  Q.       Did you ever communicate in any
 13      other way with Rich after that call?
 14                  A.       No.
 15                  Q.       Did any other current Chamber
 16      staff reach out to you after December 1,
 17      2020?
 18                  A.       No.
 19                  Q.       How about former Chamber staff?
 20                  A.       Actually -- yes, yeah.
 21                       reached out to me,
 22              , and                        reached out to me.
 23                  Q.       What did                  have to say?
 24                  A.       Well, at first                   -- because
 25      I spoke on background to -- to Gothamist,

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  1                                 Confidential
  2      and when that story hit, he reached out.                        He
  3      was like are you -- I think the code name
  4      they gave me was Sara.                   He goes, are you
  5      Sara.        All these people are asking me if you
  6      are Sara.           And I lied and I said no.
  7                           And then I decided to just
  8      attach my name to it because I just had a
  9      change of heart and I thought I don't care,
 10      I don't have much to lose really, and it's
 11      more powerful to attach my identity.                      I just
 12      know because I have a journalism background,
 13      I studied journalism, when you -- interviews
 14      that you give on background are valuable,
 15      but it's better when you can identify a real
 16      source.           That lends credibility to the
 17      story.           So I felt it was a public service.
 18      So then I outed myself, and then he sent me
 19      some mean text messages like you liar.
 20                           And then              reached out and
 21      just was like, hey, I'm thinking of you, you
 22      know, that was really brave, he like called
 23      me.
 24                  Q.       Did             say anything else
 25      other than what you've already described?

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  1                              Confidential
  2                  A.   No, not really.                   He goes -- I
  3      think he said something like lose my number
  4      or whatever.         I just blocked him.                 I should
  5      have had him blocked anyways.
  6                       He had been like let go from his
  7      position in the                                                last
  8      year, I think, so he's                                   , I
  9      believe, but -- so he was -- was with the
 10      Chamber recently as of last year, but not
 11      this year.
 12                  Q.   Did              ever try to discourage
 13      you from talking about your experience in
 14      the Chamber?
 15                  A.   Well, when he -- well, I guess
 16      when years ago he made it clear to me like
 17      that anybody that speaks out against the
 18      Governor like loses his shirt basically, but
 19      when he texted me about like, oh, are you
 20      Sara, he was like -- and I had said no, he
 21      was like, well, good, because whoever that
 22      is like -- kind of I think he alluded to
 23      something like they were just trying to get
 24      attention or something disparaging.
 25                  Q.   I know earlier you said that you

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  1                              Confidential
  2      know Lindsey Boylan.              Do you know any of the
  3      other women who have made allegations of
  4      sexual harassment by the Governor?
  5                  A.   Not personally, and I didn't
  6      overlap with any of them professionally.
  7                  Q.   Have you spoken with Lindsey
  8      about any of your respective interactions
  9      with the Governor?
 10                  A.   Not in detail.               I -- she didn't
 11      ask me questions about it, and I didn't ask
 12      her questions about her experience.
 13      We -- when she contacted me, it was just
 14      kind of to say like, wow, you know, thank
 15      you for speaking up and I've got your back
 16      kind of thing.
 17                  Q.   When did you speak?
 18                  A.   It was not long after the Wall
 19      Street Journal article came out.                    I think it
 20      was right after that.
 21                  Q.   Before the Wall Street Journal
 22      article came out, had you communicated with
 23      Lindsey about experiences with the Governor?
 24                  A.   No, but -- well, so she
 25      contacted me not long after her blog post

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  1                              Confidential
  2      and indicated that she was working with
  3      Rebecca Traister to create like a safe space
  4      if other women and other staffers felt like
  5      they wanted to share stories, and she
  6      wasn't -- she made it clear that she wasn't
  7      trying to pressure or anything, but that
  8      because of the harassment that she was
  9      getting and like the fact that the -- she
 10      was being called, you know, a liar, she was
 11      trying to be strategic about airing the
 12      truth, and she knew from the time that we
 13      had interacted with each other and
 14      overlapped that she had identified me as
 15      maybe somebody that had experienced
 16      something similar, and so I --
 17                       I said that I would be happy to
 18      talk to Rebecca Traister on background, and
 19      then after I talked to Rebecca, I started to
 20      feel more comfortable and -- well, I felt
 21      like -- because I hadn't talked about it
 22      really before to anybody, and then I felt
 23      more comfortable with not being anonymous
 24      and being -- and attaching my name to it, so
 25      Lindsey had expressed gratitude.

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  1                              Confidential
  2                        I didn't know at the time like
  3      how big of a deal it would be.                     I suppose
  4      that's naive, but -- because I didn't come
  5      out and say, oh, the Governor grabbed my
  6      body parts, but because there had been so
  7      few people that had shared their stories and
  8      attached their names to their stories, it
  9      ended up really blowing up and I didn't
 10      exactly expect that, so.
 11                        But Lindsey and I we did overlap
 12      and work on a couple of things together, and
 13      later on when I worked at Cornell, actually
 14      she stayed in touch with me, and I helped
 15      her when she worked for the ESD, had a
 16      couple of meetings at Cornell when she was
 17      in that job.         So it's not as though we
 18      didn't know each other at all and didn't
 19      have any -- like I remember at Ithaca, when
 20      she came to Ithaca to meet -- to have the
 21      meeting at Cornell, we were exchanging
 22      pleasantries and sort of -- I recall having
 23      sort of an eye-roll conversation about like,
 24      oh, God, that place, so awful, so good to be
 25      out.        So maybe that's part of the reason why

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  1                              Confidential
  2      she had me in her Rolodex of people to reach
  3      out to.
  4                  Q.   Have you spoken with any of the
  5      other complainants about your respective
  6      experiences with the Governor?
  7                  A.   No.
  8                  Q.   You mentioned that when you
  9      spoke with Rebecca Traister was sort of one
 10      of the first times you spoke with anyone
 11      about that.        What did you mean by that?
 12                  A.   It was the first time that I had
 13      ever answered pointed and detailed
 14      questions, like informed questions about the
 15      toxic workplace environment and felt
 16      validated that I wasn't crazy, that it
 17      wasn't -- it wasn't that I couldn't hack it.
 18      It was just a bad place to wok.
 19                       Rebecca shared some of the
 20      anecdotes that had been shared with her by
 21      other interviewees, and New York Magazine
 22      had a team of fact-checkers.                       So it wasn't
 23      as though these were made up stories, and a
 24      lot of them were like really eerily
 25      identical to what I had been talking about,

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  1                               Confidential
  2      and it felt kind of therapeutic in a way.
  3                          She is a writer who had
  4      written -- she has written books about this
  5      type subject matter and had a unique level
  6      of expertise on it beyond your typical
  7      journalist that's seeking a sound bite.                          So
  8      it was cathartic, I think, to talk to her.
  9                          MS. MAINOO:           Before I wrap up,
 10                  Jen, do you have any questions?
 11                          MS. PARK:         Yes.          Thanks, Abena.
 12                          Since you've have gone public,
 13                  are you aware of any efforts by staff
 14                  of the Executive Chamber to try to
 15                  discredit you or impugn your
 16                  character?
 17                          THE WITNESS:            No, not at this
 18                  time.    Immediately after I spoke out
 19                  through the Wall Street Journal, you
 20                  know, the Governor was asked about my
 21                  account and he did not deny it;
 22                  however, later on, more recently he
 23                  has categorically denied everything,
 24                  but nobody came out and tried to
 25                  malign my character.                I was expecting

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  1                              Confidential
  2                  that that was a possibility.
  3                          I was bothered when it was
  4                  brought up that like they had like a
  5                  dossier about Lindsey.                 I remember
  6                  thinking, well, gosh, I didn't even
  7                  know what -- who my HR contact was.                      I
  8                  had nobody giving me performance
  9                  evaluations in any regularity, I had
 10                  nobody monitoring where I was at any
 11                  given time, I didn't even have a
 12                  formal way to put in for vacation, so
 13                  who was keeping a dossier on Lindsey?
 14                  Was somebody keeping a dossier on me?
 15                  Can somebody make something up about
 16                  me, like did they make up whatever the
 17                  allegations were against her.                 So I
 18                  was afraid of that.
 19                          And certainly that's the style
 20                  of their communications operation is,
 21                  you know, deny, deny, deny, character
 22                  assassinate.      So I was fully expecting
 23                  that.    So when I spoke out, I was
 24                  clear to those journalists that,
 25                  listen, if they try to call me a

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  1                              Confidential
  2                  nobody and say that I didn't have any
  3                  influence and I didn't have access,
  4                  they're right, I didn't have any
  5                  influence, I didn't have any access.
  6                  These are the things that happened.
  7                  This was on film.           These are the
  8                  things I can attach date stamps to.
  9                        I made sure that like I wasn't
 10                  speaking in platitudes about, well, I
 11                  felt it was like this, and -- I was
 12                  very careful, because I knew they
 13                  could come out and say Ana is a loser
 14                  and she's making it up for attention.
 15                        MS. PARK:         I know you said that,
 16                  you know, they haven't publicly tried
 17                  to malign you or discredit you.                Are
 18                  you aware of them privately trying to
 19                  do that?
 20                        THE WITNESS:            I can only
 21                  speculate based on the fact that like
 22                  I know how they deal with event
 23                  management and control who can be in
 24                  the room and who shouldn't be invited,
 25                  and I haven't been included in things,

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  1                               Confidential
  2                  so...
  3                           MS. PARK:       You're talking about
  4                  at your current job?
  5                           THE WITNESS:          Yeah, since --
  6                  since this came out, you know,
  7                  any -- anything in my official
  8                  capacity in this job I would have -- I
  9                  would interface with State level
 10                  officials, and where the Executive
 11                  Chamber would be involved, I have not
 12                  been included where I otherwise would
 13                  have been included and was up until
 14                  March of this year in other events.
 15                           MS. PARK:       What about
 16                  information from reporters, have any
 17                  reporters told you that they have
 18                  heard information about you that is
 19                  negative?
 20                           THE WITNESS:          Not that I know
 21                  of.     Nobody has said anything to me, I
 22                  haven't really talked to any reporters
 23                  since -- I mean, I've had reporters
 24                  follow up with me asking me about the
 25                  investigation and stuff like that, but

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  1                                  Confidential
  2                  nobody has divulged anything to me.                     I
  3                  wouldn't be surprised, though, if
  4                  there was some campaign.
  5                          MS. PARK:           I think, you know,
  6                  you've said that there are things
  7                  about your current job have changed
  8                  since you've gone public.                  Has anyone
  9                  at current job told you that you're
 10                  protected from retaliation for
 11                  disclosing your claim?
 12                          THE WITNESS:              Yes, my boss, the
 13                  County Executive, said that he has my
 14                  back.     Our
 15                  and the                                         both
 16                  also said that they have my back and I
 17                  should not be afraid that -- of
 18                  anything.
 19                          MS. PARK:           Have you raised any
 20                  of your concerns about your change in
 21                  how you're being treated at your
 22                  current job to any of those
 23                  individuals who told you you were
 24                  protected from retaliation?
 25                          THE WITNESS:              Not yet.

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  1                               Confidential
  2                        MS. PARK:          You a few moments ago
  3                  mentioned that when you first came
  4                  out, the Governor did not deny what
  5                  you had said, but more recently has
  6                  done that.      Are you referring to the
  7                  Governor more recently saying he
  8                  didn't do anything wrong?
  9                        THE WITNESS:             Yes.
 10                        MS. PARK:          And what's your
 11                  reaction to Governor Cuomo saying he
 12                  didn't do anything wrong?
 13                        THE WITNESS:             It's not up to him
 14                  to determine whether his actions were
 15                  right or wrong.          It's up to the
 16                  individual that was subject to the
 17                  actions.     And if I came out and said
 18                  it was wrong or inappropriate for him
 19                  to touch and kiss and ask personal
 20                  questions of a young female staffer
 21                  without asking permission, then it's
 22                  not okay and it's inappropriate.
 23                        MS. PARK:          And a while ago you
 24                  mentioned that in your current role
 25                  supporting a county executive you were

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  1                               Confidential
  2                  aware of an allegation that members of
  3                  the Governor's senior staff made phone
  4                  calls to county executives related to
  5                  support for the Governor.               Is your
  6                  knowledge of that entirely based on
  7                  what you've read in the press or do
  8                  you have any personal knowledge about
  9                  those phone calls?
 10                        THE WITNESS:             No, the County
 11                  Executive told me.             I have personal
 12                  knowledge.
 13                        MS. PARK:          What did the County
 14                  Executive tell you?
 15                        THE WITNESS:             He told me Larry
 16                  Schwartz called him and was gauging,
 17                  you know, his level of support for the
 18                  Governor and was referencing the
 19                  vaccine supply, and Adam was
 20                  acknowledging that reports in the
 21                  media were accurate, and that he was
 22                  one of the folks that was called, and
 23                  he alluded to like -- he thought it
 24                  was strange because he thought maybe
 25                  he was being targeted because I was

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  1                               Confidential
  2                  one of the people that spoke out and
  3                  I'm very publicly working for Adam
  4                  Bello.
  5                           MS. PARK:       Did Mr. Bello connect
  6                  the two, did he connect support -- did
  7                  he convey to you that Mr. Schwartz was
  8                  connecting support for the Governor to
  9                  vaccine supply?
 10                           THE WITNESS:          Yeah -- well, he
 11                  said that that was what it felt like
 12                  and that was very clear to him that
 13                  that was the nature of the call.
 14                           MS. PARK:       What did you say to
 15                  Mr. Bello?
 16                           THE WITNESS:          I was just like,
 17                  wow, I'm not surprised, that's crazy.
 18                  I was like I'm sorry, you know, I put
 19                  you on the spot.           He was like, no,
 20                  don't apologize.           He's been very
 21                  gracious about the whole thing.
 22                           I thought before I spoke out
 23                  publicly, before I attached my name to
 24                  it, that I would certainly be losing
 25                  my job or whatever.              So before I

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  1                              Confidential
  2                  decided I'm going to identify myself,
  3                  I spoke to Adam, I spoke to the
  4                                        , and I said, listen,
  5                  I'm thinking about doing this, this is
  6                  what I experienced, what are your
  7                  thoughts?
  8                        And then they said, wow, they
  9                  were really sensitive and gracious
 10                  about the whole thing, and he said
 11                  we've got your back, you know, you do
 12                  what you need to do.
 13                        MS. PARK:         Did Mr. Bello tell
 14                  you he was going to do anything about
 15                  the call from Mr. Schwartz?
 16                        THE WITNESS:            No, he just sort
 17                  of -- like it was an eye-roll type of
 18                  a situation.      Adam had had a few
 19                  interactions with Larry Schwartz about
 20                  the vaccine effort because Larry was
 21                  kind of running the show from the
 22                  stateside, and Adam was really
 23                  beleaguered from like -- you know, he
 24                  runs the county health department and
 25                  is being publicly held accountable for

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  1                               Confidential
  2                  vaccine distribution in Monroe County,
  3                  and yet so much of it was outside of
  4                  his control and being arbitrarily
  5                  determined by the Governor's Office,
  6                  and, you know, he's a first-term
  7                  county executive and dealing with this
  8                  stuff for the first time.                 I mean,
  9                  obviously everybody was dealing with
 10                  COVID for the first time, but he
 11                  already had a bad taste in his mouth
 12                  about the administration, about Larry
 13                  and how they were -- how they were
 14                  operating the whole thing in a chaotic
 15                  way, and this was just another thing,
 16                  it was par for the course,
 17                  politicizing -- politicizing it,
 18                  politicizing vaccine distribution and
 19                  politicizing the pandemic.
 20                        MS. PARK:          Abena, I don't have
 21                  anything else.
 22                        MS. MAINOO:            Thank you.
 23                        THE VIDEOGRAPHER:                 Anybody else?
 24                        MS. MAINOO:            Yes, a few more
 25                  questions.

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  1                              Confidential
  2      BY MS. MAINOO:
  3                  Q.   Ms. Liss, you may have already
  4      spoken to this so I apologize if I'm
  5      repeating myself, but I want to make sure to
  6      cover this.
  7                       At the time when you were in the
  8      Executive Chamber and you had physical
  9      contact with the Governor, how did you feel
 10      about that?
 11                  A.   I felt objectified and I felt
 12      like I was attractive to the Governor.                       In
 13      some ways I felt special, not like, oh, wow,
 14      look at me, the Governor -- but I felt like
 15      it was a differentiating factor that
 16      separated me from other rank and file
 17      members of the staff, like he saw me.
 18                  Q.   Did you feel comfortable with
 19      the physical contact you had with the
 20      Governor?
 21                  A.   I didn't feel threatened by it.
 22      I didn't feel comfortable, but I didn't feel
 23      incomfortable -- or uncomfortable.                     It was
 24      sort of in between.
 25                       MS. PARK:          Was the physical

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  1                               Confidential
  2                  contact from the Governor welcome?
  3                          THE WITNESS:           When you say
  4                  "welcome," like do you think -- are
  5                  you asking like did I invite it, did I
  6                  want it?
  7                          MS. PARK:        Yes, let's take that
  8                  definition.      Did you want it?
  9                          THE WITNESS:           No.
 10                          MS. PARK:        And the comments that
 11                  the Governor made about using terms of
 12                  endearment for you, "sweetheart,"
 13                  "darling," did you want him to do
 14                  that?
 15                          THE WITNESS:           No.      I wanted him
 16                  to use my name.
 17                          MS. PARK:        And the comments --
 18                          Sorry, I didn't mean to cut you
 19                  off.    You said you wanted him to use
 20                  your name?
 21                          THE WITNESS:           Uh-hum
 22                  (nodding).
 23                          MS. PARK:        And the comments the
 24                  Governor made about your appearance,
 25                  did you want him to make those

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  1                              Confidential
  2                  comments?
  3                        THE WITNESS:            No.
  4                        MS. PARK:         I'm done.
  5      BY MS. MAINOO:
  6                  Q.    Since you last spoke to our
  7      team, have you spoken to anyone about your
  8      interactions with the Governor?
  9                  A.    No.
 10                  Q.    Have you spoken to anyone about
 11      our investigation?
 12                  A.    No, just that I am having this
 13      conversation today.             I had indicated that
 14      that's what I'm doing on Friday night.
 15                  Q.    Who did you indicate that to?
 16                  A.    My husband, my parents.
 17                        I had been contacted a while ago
 18      by the media like -- and I let them know,
 19      yes, I'm speaking, yes, it's happening, but
 20      I didn't divulge anything like what -- who
 21      I'm talking to, et cetera, et cetera.                       And I
 22      told my boss as well, sorry.                       I shared the
 23      subpoena with my boss.
 24                  Q.    What was the reason for sharing
 25      the subpoena with your boss?

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  1                              Confidential
  2                  A.    So that he knew that on Friday
  3      afternoon I would be engaged in this
  4      conversation and not available.
  5                  Q.    Is there anything you would like
  6      to add or any answers you wish to clarify
  7      before we finish?
  8                  A.    No, I think I'm all set.
  9                  Q.    Is there anything else that you
 10      can think of that's relevant to our
 11      investigation?
 12                  A.    Not at this time.
 13                  Q.    If you would like to make a
 14      brief sworn statement, you may do so now.
 15                  A.    I'm all set.            I don't need to
 16      say anything.
 17                        MS. MAINOO:           We're going to
 18                  conclude our examination.
 19                        Thank you very much for speaking
 20                  with us today.
 21                        THE WITNESS:            Thank you all.        I
 22                  appreciate your time.
 23                        MS. MAINOO:           And I'll
 24                  take -- before we go off the record,
 25                  I'll take this opportunity to remind

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  1                               Confidential
  2                  you that you have continuing
  3                  obligations under our document
  4                  subpoena and our subpoena for
  5                  testimony.      If we need you to come
  6                  back to answer additional questions,
  7                  we will contact you, and if you have
  8                  documents that are responsive to our
  9                  document subpoena, you are still under
 10                  the obligation to produce them to us.
 11                        THE WITNESS:             Okay.        Thank you.
 12                        MS. PARK:          Ms. Liss, let me just
 13                  add this too as well:                   As Abena told
 14                  you at the beginning, under Executive
 15                  Law 63(8), you may not share
 16                  what -- your testimony here today with
 17                  anyone.   Do you understand?
 18                        THE WITNESS:             Yes, I understand.
 19                        MS. PARK:          Thank you.
 20                        MS. MAINOO:            Thank you.
 21                        THE VIDEOGRAPHER:                   This ends
 22                  today's deposition.              The time is 7:01
 23                  and we're now off the record.
 24                        (Time noted:             7:01 p.m.)
 25

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